                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA
                                     BEAUFORT DIVISION


                        CIVIL ACTION NUMBER: 9:19-cv-02782-SAL



Philadelphia Indemnity Insurance Company,

                 I             Plaintiff,
                      V.                           AFFroAVIT OF RICHARD ALEXANDER
                                                   MURDAUGH
Richard Alexander Murdaugh, Richard
Alexander Murdaugh, Jr. and Renee S.
Beach, as Personal Representative of the
Estate of Mallorj^ Beach,

                               Defendants.


PERSONALLY APPEARED BEFORE ME,the undersigned, who first being duly sworn,
deposes and states as follows:

   1. I, Richard Alexander Murdaugh,am over eighteen (18) years of age and have knowledge
       of the facts contained in this affidavit.

   2. I obtained Commercial Lines Policy ("the CLP Policy") number PHPKl926389 from
      Philadelphia Indemnity Insurance Company for the policy period ofJanuary 6,2019 to
      January 6;'2020. I paid the premiums associated with this policy.
                 I


   3. I obtained Commercial Umbrella Liability Insurance Policy("the Umbrella Policy")
      number PHUB660797 from Philadelphia Indemnity Insurance Company for the policy
      period of January 6,2019 to January 6,2020. I paid the premiums associated with this
      policy. .
                 j



   4. While I dp engage in Private Hunting Operations, I do not and have never engaged in
      those operations as a business. I have never owned or operated or intended to own or
      operate a puides & Outfitters Operation or Private Hunting Operations business, nor
      have any of my immediate family members.

   5. I am not the sole owner of any business. I was not the sole owner of any business at the
      time I applied for and obtained the CLP Policy or the Umbrella Policy, nor did I have the
      intention of becoming the sole owner of any business at any point afterwards.
                 I



   6. In the process of applying for and obtaining the CLP Policy and the Umbrella Policy,I
      did not and would not have sought policies under which coverage would apply to a
       Guides &;Outfitters Operation or Private Hunting Operations business, as neither I nor



                                                                            Exhibit 4
       my family have ever engaged in such a business. Likewise, I did not and would not have
       sought policies under which coverage would apply to "the conduct of a business of which
       you are the sole owner," because I was not the sole owner of any business.

   7. When I applied for the CLP Policy and the Umbrella Policy, I had the intention and
      expectation of obtaining insurance that would protect myself, my spouse, and other
      potential insureds from the type ofclaims as those alleged in the underlying suit of
      Gregory M Parker, Inc. a/k/a Parker's Corporation d/b/a Parkers 55, Richard
      Alexander Murdaugh, and Richard Alexander Murdaugh, Jr. (2019-CP-25-00111).

   8. In applying for and obtaining the Umbrella Policy, I intended to procure a policy that
      would provide excess coverage over various other underlying liability policies, including
      Progressive Northern Insurance Company policy number 85003211, which provided
      insurance coverage for the watercraft involved in the February 23, 2019 accident.
      Attached hereto as Exhibit A is an authentic copy of that policy.

   9. I am the named insured on Progressive Northern Insurance Company policy number
       85003211.


   10. Progressive Northern Insurance Company is providing a defense to me and my son,
       Richard Alexander Murdaugh, Jr., in the underlying suit of Gregory M. Parker, Inc. a/k/a
       Parker's Corporation d/b/a Parkers 55, Richard Alexander Murdaugh, and Richard
       Alexander Murdaugh, Jr. (2019-CP-25-00111).


FURTHER THE AFFIANT SAYETH NOT.



                                            Richard Alexander Murdaugh

Subscribed and sworn to before me.
This ^0-t^av of                   2020.



Notary Public for State of

My commission expires:       10-04-        .2oSI£C
                                                 cJog
Form_SCTNID_CTGRY.SC02106489_DECPAGE




85003211   Q SM16782   INS DECPAGE   U POLWHITEFONT Y6ZITBOCL24GUMCNFCC54WJSXF0002 RPUID TRACWHITEFONT




                                                   HILTON HEAD INS
                                                   1000 WLM HLT PKY J13
                                                   HILTON HEAD, SC 29928




                                                                                                                                                                                                   Policy number: 85003211
                                                                                                                                                                                                         Underwritten by:
                                                   RICHARD MURDAUGH                                                                                                                                      Progressive Northern Insurance Co
                                                   PO BOX 457                                                                                                                                            December 10, 2018
                                                   HAMPTON, SC 29924
                                                                                                                                                                                                         Policy Period: Jan 16, 2019 - Jan 16, 2020
                                                                                                                                                                                                         Page 1 of 3

                                                                                                                                                                                                   1-843-422-4154
                                                                                                                                                                                                         HILTON HEAD INS

                                                                                                         Boat Insurance                                                                                  Contact your agent for personalized service.

                                                                                                                                                                                                   progressiveagent.com
                                                                                                         Coverage Summary                                                                                Online Service
                                                                                                                                                                                                         Make payments, check billing activity, update
                                                                                                         This is your Renewal                                                                            policy information or check status of a claim.

                                                                                                         Declarations Page                                                                         1-800-274-4499
                                                                                                                                                                                                         To report a claim.




                                                                                                         The coverages, limits and policy period shown apply only if you pay for this policy to renew.
                                                                                                         Your coverage begins on January 16, 2019 at 12:01 a.m. This policy expires on January 16, 2020 at 12:01 a.m.
                                                                                                         Your insurance policy and any policy endorsements contain a full explanation of your coverage. The policy limits
                                                                                                         shown for a watercraft may not be combined with the limits for the same coverage on another watercraft, unless the
                                                                                                         policy contract or endorsements indicate otherwise. The policy contract is form 2748 SC (08/14). The contract is
                                                                                                         modified by forms A066 SC (07/11), A067 (03/12), Z820 (12/11), Z838 (06/10) and 9869 SC (10/14).

                                                   Underwriting Company
                                                                                                         Progressive Northern Insurance Co
                                                                                                         P.O. Box 6807
                                                                                                         Cleveland, OH 44101
                                                                                                         1-800-876-5581

                                                   Drivers and ………………………………………………………………………………………………………………………………………………………..
                                                               household residents     Additional information
                                                                                                         Richard Murdaugh                                        Named insured

                                                   Outline of coverage
                                                                                                         2006 Sea Hunt 175 Escape
                                                                                                         Total Horsepower: 90
                                                                                                         Hull ID #: SXST3013H506                    Registration number: B6S6S004
                                                                                                         Propulsion type: Outboard                  Number of motors: 1
                                                                                                         Outboard #1          Year: 2006            Make: YAMAH                 Horsepower: 90
                                                                                                         Trailer information Year: 2006             Make: MAGIG
                                                                                                                                                                 Limits                                                       Deductible       Premium
                                                                                                         ……………………………………………………………………………………………………………………………………………
                                                                                                         Liability To Others
                                                                                                           Bodily Injury and Property Damage Liability $500,000 combined single limit each accident
                                                                                                            Includes Fuel Spill Liability
                                                                                                         ……………………………………………………………………………………………………………………………………………
                                                                                                         Uninsured   Boater                            $500,000 combined single limit each accident
                                                                                                         ……………………………………………………………………………………………………………………………………………
                                                                                                         Medical   Payments                            $1,000 each person
                                                                                                         ……………………………………………………………………………………………………………………………………………
                                                                                                         Coastal Navigation              75 Nautical Miles
                                                                                                         ……………………………………………………………………………………………………………………………………………
                                                                                                         Total premium for 2006 Sea Hunt


                                                                                                                                                                                                                                                    4
                                                                                                                                                                                                                                               Continued

                                                                                                         Form 6489 SC (02/10)                                                                                       Exhibit A
85003211   Q SM16782   INS DECPAGE   U POLWHITEFONT Y6ZITBOCL24GUMCNFCC54WJSXF0002 RPUID TRACWHITEFONT




                                                                                                                                                                                                                Policy number: 85003211
                                                                                                                                                                                                                         Richard Murdaugh
                                                                                                                                                                                                                              Page 2 of 3

                                                                                                         2007 Grady-White 300 Marlin WA
                                                                                                         Total Horsepower: 500
                                                                                                         Hull ID #: NTLCC404F607               Registration number: B3K3K084
                                                                                                         Propulsion type: Outboard             Number of motors: 2
                                                                                                         Outboard #1          Year: 2007       Make: YAMAH                 Horsepower: 250
                                                                                                         Outboard #2          Year: 2007       Make: YAMAH                 Horsepower: 250
                                                                                                         Trailer information Year: 2007        Make: NONEN
                                                                                                                                                           Limits                                              Deductible       Premium
                                                                                                         ………………………………………………………………………………………………………………………………………………………..
                                                                                                         Liability To Others
                                                                                                           Bodily Injury and Property Damage Liability $500,000 combined single limit each accident
                                                                                                            Includes Fuel Spill Liability
                                                                                                         …………………………………………………………………………………………………………………………………………
                                                                                                         Uninsured   Boater                            $500,000 combined single limit each accident
                                                                                                         …………………………………………………………………………………………………………………………………………
                                                                                                         Medical   Payments                            $1,000 each person
                                                                                                         …………………………………………………………………………………………………………………………………………
                                                                                                         Comprehensive                                 Total Loss Replacement/Purchase Price        $0
                                                                                                                                                       Purchase Price $140,000
                                                                                                                                                       Named Storm Deductible
                                                                                                         …………………………………………………………………………………………………………………………………………
                                                                                                                                                                                                    $7,000
                                                                                                         Collision                                     Total Loss Replacement/Purchase Price        $0
                                                                                                                                                       Purchase Price $140,000
                                                                                                         …………………………………………………………………………………………………………………………………………
                                                                                                         Included with Comprehensive and Collision:
                                                                                                          Disappearing Deductible
                                                                                                          Wreckage Removal
                                                                                                          Marine Electronics                            $500
                                                                                                          Trailer                                       $250
                                                                                                         …………………………………………………………………………………………………………………………………………
                                                                                                         Sign & Glide®
                                                                                                         …………………………………………………………………………………………………………………………………………
                                                                                                         Coastal Navigation                 75 Nautical Miles
                                                                                                         …………………………………………………………………………………………………………………………………………
                                                                                                         Replacement  Cost Personal Effects $3,000
                                                                                                         …………………………………………………………………………………………………………………………………………
                                                                                                                                                              $250
                                                                                                         Roadside  Assistance
                                                                                                         …………………………………………………………………………………………………………………………………………
                                                                                                         Total premium for 2007 Grady-White
                                                                                                         …………………………………………………………………………………………………………………………………………
                                                                                                         Total 12 month policy premium
                                                                                                         …………………………………………………………………………………………………………………………………………
                                                                                                         Discount if paid in full
                                                                                                         …………………………………………………………………………………………………………………………………………
                                                                                                         Total 12 month policy premium if paid in full

                                                   Premium discounts
                                                                                                         Policy
                                                                                                         ………………………………………………………………………………………………………………………………………………………..
                                                                                                         85003211                                          Claim Free Renewal, Home Owner, Multi-Policy, Multi-Vehicle and Prompt
                                                                                                                                                           Payment
                                                                                                         Driver
                                                                                                         ………………………………………………………………………………………………………………………………………………………..
                                                                                                         Richard Murdaugh                                  Responsible Driver

                                                   Lienholder information
                                                                                                         Vehicle                                      Lienholder
                                                                                                         ………………………………………………………………………………………………………………………………………………………..
                                                                                                         2007 Grady-White 300 Marlin WA               Palmetto State Bank
                                                                                                         NTLCC404F607                                 Hampton, SC 29924



                                                   Important information regarding Coastal Navigation restrictions
                                                                                                         A coastal navigation limit applies to this policy. Unless you pay a premium for Coastal Navigation Limit coverage, you are
                                                                                                         not covered for losses that occur more than 75 nautical miles from the coast of the United States or Canada or for losses
                                                                                                         that occur in any territory or territorial waters of any country other than the United States or Canada.


                                                                                                                                                                                                                                     4
                                                                                                                                                                                                                                Continued

                                                                                                         Form 6489 SC (02/10)
85003211   Q SM16782   INS DECPAGE   U POLWHITEFONT Y6ZITBOCL24GUMCNFCC54WJSXF0002 RPUID TRACWHITEFONT




                                                                                                                                                                                                                 Policy number: 85003211
                                                                                                                                                                                                                          Richard Murdaugh
                                                                                                                                                                                                                               Page 3 of 3
                                                   Important information on the watercraft value
                                                                                                         The watercraft dollar amount that is listed on the declarations page is the amount that you indicated includes the
                                                                                                         watercraft, motor(s), trailer (if you selected coverage for your trailer), permanently attached equipment and portable
                                                                                                         boating equipment.

                                                   Deductibles
                                                                                                         All physical damage losses, regardless of loss settlement option and whether partial or total, are subject to the applicable
                                                                                                         deductible.




                                                                                                         Form 6489 SC (02/10)
   850032119 Q SM16782   INS POLEND   POLWHITEFONT PS4RYAG32R6YU2KRGSW4NIJ6WD0002 RPUID




                                                                                                                                                                                               Policy number: 85003211-9
                                                                                                                                                                                                      RICHARD MURDAUGH
Form_SCTNID_CTGRY.XX0312A067_POLEND
                                                                                                                                                                                                            Page 1 of 2


                                             Sign & GlideR Coverage Endorsement
                                                                                          Part IV of your policy is amended as follows:
                                                                                          1.   The Insuring Agreement - Watercraft Emergency Towing and Labor Coverage in Part IV is deleted.
                                                                                          2.   The following is added:

                                                                                                Insuring Agreement - Sign & GlideR Coverage
                                                                                                If you pay the premium for this coverage for a covered watercraft, one of our authorized service representatives
                                                                                                will send one watercraft to provide you with covered services that are necessary due to a covered
                                                                                                disablement involving that covered watercraft.
                                                                                                If none of our authorized service representatives are available, we will pay the reasonable charges, as determined
                                                                                                by us, for covered services rendered by a licensed service provider that you or a relative incur due to the
                                                                                                covered disablement. However, we will not pay for such covered services unless we were given notice and
                                                                                                approved the use of the licensed service provider in advance. We will not pay more than $250 per hour or $3000
                                                                                                per covered disablement for covered services rendered by a provider other than one of our authorized service
                                                                                                representatives.
                                                                                                Duplicate recovery for the same elements of damages is not permitted under this policy.
                                                                                                THIS COVERAGE IS NOT A PROMISE OF, OR COMMITMENT TO PROVIDE OR PAY FOR, RESCUE. IN AN EMERGENCY
                                                                                                SITUATION, YOU MUST IMMEDIATELY CONTACT THE COAST GUARD OR OTHER GOVERNMENT AGENCY.

                                                                                                For purposes of this Sign & GlideR Coverage, the following definitions apply:
                                                                                                1.    "Covered disablement" means the disablement of a covered watercraft while afloat that results from:
                                                                                                      a.   mechanical or electrical breakdown;
                                                                                                      b.   battery failure;
                                                                                                      c.   insufficient supply of fuel, oil, water, or other fluid;
                                                                                                      d.   lock-out; or
                                                                                                      e.   soft grounding.
                                                                                                      "Covered disablement" does not include any disablement resulting from a loss covered, or for which
                                                                                                      coverage is sought, under Collision Coverage or Comprehensive Coverage.
                                                                                                2.    "Covered services" means the following services:
                                                                                                      a.   the following if performed at the place of covered disablement:
                                                                                                           i.     jump start;
                                                                                                           ii.    delivery of fuel, oil or other fluid;
                                                                                                           iii.   disentanglement that does not require use of a diver; and
                                                                                                           iv.    soft ungrounding assistance, but only if the covered watercraft:
                                                                                                                  1)   is in a stable, safe condition;
                                                                                                                  2)   is not in dangerous surf or a dangerous surf line;
                                                                                                                  3)   is surrounded by water on all sides;
                                                                                                                  4)   can be rocked; and
                                                                                                                  5)   can be refloated upon initial arrival or at the next high tide in 15 minutes or less by one
                                                                                                                       watercraft from our authorized service representative; and
                                                                                                      b.   on water towing from the site of the covered disablement to the nearest accessible dock or port
                                                                                                           where the watercraft can be repaired or removed from the water. If the covered watercraft is towed
                                                                                                           to any place other than the nearest such dock or port, you will be responsible for any additional charges
                                                                                                           incurred.



                                                                                                                                                                                                                          4
                                                                                                                                                                                                                     Continued
850032119 Q SM16782   INS POLEND   POLWHITEFONT PS4RYAG32R6YU2KRGSW4NIJ6WD0002 RPUID




                                                                                                                                                                                               Policy number: 85003211-9
                                                                                                                                                                                                      RICHARD MURDAUGH
                                                                                                                                                                                                            Page 2 of 2

                                                                                              Sign & GlideR Coverage will not apply to:
                                                                                              1.      the cost of purchasing parts, fluid, lubricants, fuel or replacement keys, or the labor to make replacement keys;
                                                                                              2.      installation of products and materials not related to the covered disablement;
                                                                                              3.      labor not related to the disablement;
                                                                                              4.      labor for any time period in excess of 60 minutes per disablement;
                                                                                              5.      towing or storage related to impoundment, abandonment, illegal docking or mooring, or other violations of
                                                                                                      law or regulations;
                                                                                              6.      damage or disablement due to fire. This exclusion does not apply to fire caused by a covered disablement;
                                                                                              7.      damage or disablement due to vandalism;
                                                                                              8.      towing from a repair facility;
                                                                                              9.      labor or repair work performed at a repair facility;
                                                                                              10. watercraft storage, hauling, launching, commissioning, decommissioning, mooring, or docking charges
                                                                                                  or other marina charges;
                                                                                              11. a second service call or tow for a single disablement;
                                                                                              12. repeated service calls for a covered watercraft in need of routine maintenance or repair;
                                                                                              13. disablement that results from an intentional or willful act or action by you, a relative, or the operator of the
                                                                                                  covered watercraft;
                                                                                              14. watercraft used for business or commercial purposes;
                                                                                              15. salvage operations;
                                                                                              16. a covered watercraft that is wrecked, beached, on fire, taking on water, in the surf or surf line, sinking, or
                                                                                                  sunk;
                                                                                              17. assistance requiring one or more pumps, divers, airbags or other special equipment;
                                                                                              18. covered disablements that occur outside the normal boating season;
                                                                                              19. circumstances where our authorized service representative determines that the covered watercraft cannot
                                                                                                  be reached, secured or serviced without unreasonable risk of injury to persons or damage to any property;
                                                                                              20. escort or navigation assistance;
                                                                                              21. search for lost watercraft;
                                                                                              22. retrieving anchors or other equipment; or
                                                                                              23. United States or foreign customs fees.
                                                                                              The Other Sources of Recovery provision in Part IV of your policy does not apply to this Sign & GlideR Coverage.
                                                                                              Instead, any coverage provided under this Sign & GlideR Coverage for service rendered by an unauthorized service
                                                                                              provider will be excess over any other collectible insurance or labor, assistance or towing protection coverage.
                                                                                       All other terms, limits, and provisions of this policy remain unchanged.
                                                                                       Form A067 (03/12)
   850032119 Q Y349132   INS POLEND   POLWHITEFONT CU5VVXX6S3ZIU22KENANJLTV5H0006 RPUID




                                                                                                                                                                                                  Policy number: 85003211-9
                                                                                                                                                                                                         RICHARD MURDAUGH
Form_SCTNID_CTGRY.SC10149869_POLEND
                                                                                                                                                                                                               Page 1 of 3


                                               Cancellation Refund Endorsement
                                                                                          The Cancellation Refund provision in the General Provisions part of your policy is deleted and replaced by the following:
                                                                                          CANCELLATION REFUND
                                                                                          Upon cancellation, you may be entitled to a premium refund. However, our making or offering of a refund is not a
                                                                                          condition of cancellation.
                                                                                          If cancellation is at your request, any refund due will be computed on a 90% of a daily pro rata basis. This is an
                                                                                          accelerated method of calculating earned premium on cancellations. For all other cancellations, any refund due will be
                                                                                          computed on a daily pro rata basis.
                                                                                          If your policy premiums are financed by a premium service company, any refund due upon policy cancellation will be
                                                                                          computed on a daily pro rata basis, in accordance with South Carolina law, excluding any expense constant,
                                                                                          administrative fee or nonrefundable charge filed with, and approved by, the insurance commissioner.
                                                                                          All other terms, limits and provisions of this policy remain unchanged.
Form_SCTNID_CTGRY.XX1211Z820_POLEND
                                                                                          Form 9869 SC (10/14)


                                               Boat and Personal Watercraft Policy Endorsement
                                                                                          Your policy is amended as follows:

                                                                                          Part IV - Physical Damage Coverage
                                                                                          a. The following is added to subsection 2. of the Limits of Liability provision:
                                                                                                 i.      For loss to a covered watercraft caused directly or indirectly by a weather system designated by the U.S.
                                                                                                         National Weather Service and/or the National Hurricane Center as a tropical storm or hurricane, the Named
                                                                                                         Storm Deductible shown on the declarations page for that covered watercraft will apply.
                                                                                          b.     Subsection 2.d. of the Limits of Liability provision is deleted and replaced by the following:
                                                                                                 d.      If two or more deductibles apply to any one covered loss, only the lowest deductible will apply. However,
                                                                                                         if the loss is caused directly or indirectly by a weather system designated by the U.S. National Weather
                                                                                                         Service and/or the National Hurricane Center as a tropical storm or hurricane, only the highest deductible
                                                                                                         will apply.
                                                                                          c.     Subsection 2. in the second paragraph of the Insuring Agreement - Wreckage Removal Coverage provision is deleted
                                                                                                 and replaced by the following:
                                                                                                 2.      the agreed value, purchase price, or amount shown on the declarations page for that covered
                                                                                                         watercraft, reduced by the amount paid or payable under this Part IV for loss to the covered watercraft
                                                                                                         and by the deductible shown on the declarations page that applies to the Comprehensive Coverage or
                                                                                                         Collision Coverage loss under this Part IV; and
                                                                                          d.     Subsection 1. in the third paragraph of the Insuring Agreement - Wreckage Removal Coverage provision is deleted
                                                                                                 and replaced by the following:
                                                                                                 1.      the agreed value, purchase price, or amount shown on the declarations page for that covered
                                                                                                         watercraft, reduced by the amount paid or payable under this Part IV for loss to the covered watercraft
                                                                                                         and by the deductible shown on the declarations page that applies to the Comprehensive Coverage or
                                                                                                         Collision Coverage loss under this Part IV; and
                                                                                          e.     The following is added to the Insuring Agreement - Disappearing Deductibles provision:
                                                                                                 The provisions in this policy regarding Disappearing Deductibles will not reduce or eliminate the Named Storm
                                                                                                 Deductible shown on the declarations page.
                                                                                          All other terms, limits, and provisions of this policy remain unchanged.
Form_SCTNID_CTGRY.XX0312A067_POLEND
                                                                                          Form Z820 (12/11)




                                                                                                                                                                                                                         4
                                                                                                                                                                                                                    Continued
   850032116 Q Y349132   INS POLEND   POLWHITEFONT EWJD3KM5X2H2UPCVJ2CRYTDAVD0006 RPUID




                                                                                                                                                                                             Policy number: 85003211-6
                                                                                                                                                                                                    RICHARD MURDAUGH
Form_SCTNID_CTGRY.SC0711A066_POLEND
                                                                                                                                                                                                          Page 1 of 1


                                               Medical Payments Coverage Endorsement
                                                                                          Your policy is amended as follows:
                                                                                          Part II - Medical Payments Coverage
                                                                                          The following is deleted under the Limits of Liability provision:
                                                                                                  No one will be entitled to duplicate payments under this policy for the same elements of damages.
                                                                                                  Any amount payable to an insured person under this Part II will be reduced by any amount paid or payable for
                                                                                                  the same expense under Part I - Liability To Others or Part III - Uninsured Boater Coverage.
                                                                                          All other terms, limits and provisions of this policy remain unchanged.
                                                                                          Form A066 SC (07/11)
850321RSM543 INSPOLED POLWHITEFN24C6QG3BZM5E2WVJK43YFMG02RPUID
                       2748 SC 0814




SOUTH CAROLINA
BOAT AND PERSONAL WATERCRAFT POLICY




Form 2748 SC (08/14)
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      SOUTH CAROLINA BOAT AND PERSONAL WATERCRAFT POLICY

                              INSURING AGREEMENT

In return for your payment of the premium, we agree to insure you subject to all the
terms, conditions, and limitations of this policy. We will insure you for the coverages
and the limits of liability shown on this policy’s declarations page. Your policy consists
of the policy contract, your insurance application, the declarations page, and all en-
dorsements to this policy.

                              GENERAL DEFINITIONS

The following definitions apply throughout the policy. Defined terms are printed in bold-
face type and have the same meaning whether in the singular, plural, or any other form.
1. “Additional watercraft” means a watercraft you become the owner of during
    the policy period that does not permanently replace a watercraft shown on the
    declarations page if:
    a. we insure all other watercraft you own;
    b. the additional watercraft is not covered by any other insurance policy;
    c. you notify us within 30 days of becoming the owner of the additional water-
          craft; and
    d. you pay any additional premium due.
    An additional watercraft will have the broadest coverage we provide for any wa-
    tercraft shown on the declarations page other than Total Loss Replacement/Pur-
    chase Price Coverage or Agreed Value Coverage. We will provide basic Collision
    Coverage and Comprehensive Coverage for the additional watercraft instead
    of Total Loss Replacement/Purchase Price Coverage or Agreed Value Coverage.
    If you decide to add any coverage to this policy or increase your limits, these
    changes to your policy will not become effective until after you ask us, and we
    have agreed, to add the coverage or increase your limits. If you ask us to insure
    an additional watercraft more than 30 days after you become the owner, any
    coverage we provide will begin at the time you request coverage.
2. “Bodily injury” means bodily harm, sickness, or disease, including death that
    results from bodily harm, sickness, or disease.
3. “Covered watercraft” means:
    a. any watercraft shown on the declarations page for the coverages applicable
          to that watercraft;
    b. any additional watercraft; and
    c. any replacement watercraft.
4. “Declarations page” means the document showing your coverages, limits of li-
    ability, covered watercraft, premium, and other policy-related information. The
    declarations page may also be referred to as the Boat Insurance Coverage Sum-
    mary.
5. “Marine electronics” means electronic devices used for marine navigation or ma-
    rine communication, including, but not limited to, portable or handheld devices
    such as GPS.
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6. “Motor” means a motor or motors owned by you and designed to propel a cov-
    ered watercraft, including the following parts and accessories when supplied by
    the manufacturer:
    a. remote controls;
    b. electric harnesses;
    c. fuel containers; and
    d. batteries.
7. “Occupying” means in, on, entering, exiting, or proximate to a watercraft,
    or a non-motorized trailer which is designed to be towed on public roads by
    a land motor vehicle and designed for the transportation of a watercraft.
    “Occupying” includes being towed by a watercraft while the person is on a
    wake board, knee board, tube, air chair, or water skis. “Occupying” does not
    include in, on, entering, exiting, or proximate to a land motor vehicle.
8. “Permanent equipment” means equipment permanently installed on a covered
    watercraft using bolts or brackets, including slide-out brackets. “Permanent equip-
    ment” includes, but is not limited to, permanently installed:
    a. marine electronics;
    b. fish finders; and
    c. auxiliary trolling motors.
9. “Portable boating equipment” means detachable boating equipment owned by
    you and customarily kept in or on a covered watercraft for the maintenance or
    use of the watercraft. “Portable boating equipment” includes, but is not limited
    to:
    a. anchors;
    b. oars;
    c. sails;
    d. tarpaulins;
    e. extra fuel tanks;
    f. portable cook stoves;
    g. safety and life-saving equipment;
    h. deck chairs;
    i. water skis and other water sports equipment intended to be towed by a wa-
         tercraft, including, but not limited to, wake boards, knee boards, tubes, and air
         chairs; and
    j. portable marine electronics.
10. “Property damage” means physical damage to, destruction of, or loss of use of
    tangible property.
11. “Relative” means a person residing in the same household as you, and related to
    you by blood, marriage, or adoption, and includes a ward, stepchild, or foster child.
    Your unmarried dependent children temporarily away from home will qualify as a
    relative if they intend to continue to reside in your household.
12. “Replacement watercraft” means a watercraft that permanently replaces a wa-
    tercraft shown on the declarations page. A replacement watercraft will have
    the same coverage as the watercraft it replaces if the replacement watercraft is
    not covered by any other insurance policy. However:
    a. if the watercraft being replaced had coverage under Part IV - Physical Dam-
         age Coverage, such coverage will apply to the replacement watercraft only
                                            2
           during the first 30 days after you become the owner unless you notify us
           within that 30-day period that you want us to extend coverage beyond the
           initial 30 days; and
      b. if the watercraft being replaced had Total Loss Replacement/Purchase Price
           Coverage or Agreed Value Coverage, we will provide basic Collision Cover-
           age and Comprehensive Coverage for the replacement watercraft instead
           of Total Loss Replacement/Purchase Price Coverage or Agreed Value Cover-
           age.
      If the watercraft being replaced did not have coverage under Part IV - Physical
      Damage Coverage, such coverage may be added, but the replacement water-
      craft will have no coverage under Part IV until you notify us of the replacement
      watercraft and ask us to add the coverage. If you decide to add any coverage to
      this policy or increase your limits, these changes to your policy will not become
      effective until after you ask us, and we have agreed, to add the coverage or in-
      crease your limits.
13.   “Seaworthy” means fit to withstand the foreseeable and expected conditions of
      weather, wind, waves, and the rigors of normal and foreseeable use in whatever
      type of waters a watercraft will be located. For a watercraft to be considered
      seaworthy, you must (without limitation):
      a. exercise due diligence to properly manage the watercraft;
      b. comply with all federal safety standards and provisions; and
      c.	follow all customary and manufacturer-recommended maintenance guide-
           lines.
14.   “Trailer” means a non-motorized trailer owned by you that is shown on the decla-
      rations page and which is designed to be towed on public roads by a land motor
      vehicle and designed for the transportation of a covered watercraft.
15.   “Watercraft” means a boat or other craft that is designed for use on water and has
      a valid manufacturer’s or state-assigned hull identification number.
16.   “We”, “us”, and “our” mean the underwriting company providing the insurance, as
      shown on the declarations page.
17.   “You” and “your” mean:
      a. a person shown as a named insured on the declarations page; and
      b. the spouse of a named insured if residing in the same household.

                           PART I - LIABILITY TO OTHERS

INSURING AGREEMENT

If you pay the premium for this coverage, we will pay damages for bodily injury and
property damage for which an insured person becomes legally responsible be-
cause of an accident.

Damages include prejudgment interest awarded against an insured person.

We will settle or defend, at our option, any claim for damages covered by this Part I.


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ADDITIONAL DEFINITION

When used in this Part I:
“Insured person” means:
a. you or a relative with respect to an accident arising out of the ownership, mainte-
    nance, or use of a watercraft or trailer;
b. any person with respect to an accident arising out of that person’s use of a cov-
    ered watercraft or trailer with the permission of you or a relative;
c. any person or organization with respect only to vicarious liability for the acts or
    omissions of a person described in a. or b. above; and
d. any Additional Interest Insured shown on the declarations page with respect only
    to its liability for the acts or omissions of a person described in a. or b. above.

ADDITIONAL PAYMENTS

In addition to our limit of liability, we will pay for an insured person:
1. all expenses that we incur in the settlement of any claim or defense of any lawsuit;
2. interest accruing after entry of judgment, until we have paid, offered to pay, or
    deposited in court that portion of the judgment which does not exceed our limit
    of liability. This does not apply if we have not been given notice of suit or the op-
    portunity to defend an insured person;
3. the premium on any appeal bond or attachment bond required in any lawsuit we
    defend. We have no duty to purchase a bond in an amount exceeding our limit of
    liability, and we have no duty to apply for or furnish these bonds;
4. up to $250 for a bail bond required because of an accident resulting in bodily
    injury or property damage covered under this Part I. We have no duty to apply
    for or furnish this bond; and
5. reasonable expenses, including loss of earnings up to $200 per day, incurred at
    our request.

EXCLUSIONS - READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN
EXCLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS
PART I.

Coverage under this Part I, including our duty to defend, will not apply to any insured
person for:
1. bodily injury or property damage arising out of the ownership, maintenance, or
    use of any watercraft or trailer while being used:
    a. to carry persons or property for compensation or a fee;
    b. in any illegal transportation or trade; or
    c. in any business or occupation.
    Subparts a. and c. of this exclusion do not apply to use of a watercraft or trailer
    for tournament fishing;
2. any liability assumed under any contract or agreement by you or a relative;
3. bodily injury to an employee of that insured person arising out of or within the
    course of employment. This exclusion does not apply to domestic employees if
    benefits are neither paid nor required to be provided under workers’ compensa-
    tion, disability benefits, or similar laws;
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4. bodily injury or property damage resulting from, or sustained during practice or
    preparation for:
    a. any pre-arranged or organized racing, stunting, speed, or demolition contest
          or activity; or
    b. any driving, riding, navigation, piloting, or boating activity conducted on a per-
          manent or temporary racecourse.
    This exclusion does not apply to bodily injury or property damage resulting from
    the use of a sailboat in any pre-arranged or organized racing or speed contest, or
    in practice or preparation for any such contest;
5. bodily injury or property damage due to a nuclear reaction or radiation;
6. bodily injury or property damage for which insurance:
    a. is afforded under a nuclear energy liability insurance contract; or
    b. would be afforded under a nuclear energy liability insurance contract but for its
          termination upon exhaustion of its limit of liability;
7. any obligation for which the United States Government is liable under the Federal
    Tort Claims Act;
8. bodily injury or property damage caused by an intentional act of that insured
    person, or at the direction of that insured person, even if the actual injury or
    damage is different than that which was intended or expected;
9. property damage to any property owned by, rented to, being transported by, or
    in the charge of that insured person. The term “property” includes, without limita-
    tion, any covered watercraft and any watercraft other than a covered watercraft.
    This exclusion does not apply to a launching ramp, dock, mooring device or boat
    storage house rented by you;
10. bodily injury to you or a relative;
11. bodily injury or property damage arising out of the ownership, maintenance,
    or use of any watercraft or trailer owned by you or furnished or available for your
    regular use, other than a covered watercraft or trailer for which this coverage has
    been purchased;
12. bodily injury or property damage arising out of the ownership, maintenance,
    or use of any watercraft or trailer owned by a relative or furnished or available for
    the regular use of a relative, other than a covered watercraft or trailer for which
    this coverage has been purchased. This exclusion does not apply to your mainte-
    nance or use of such watercraft or trailer;
13. bodily injury or property damage arising out of your or a relative’s use of a
    watercraft or trailer, other than a covered watercraft or trailer for which this cover-
    age has been purchased, without the permission of the owner of the watercraft or
    trailer or the person in lawful possession of the watercraft or trailer;
14. bodily injury or property damage arising out of the use of a covered watercraft
    or trailer while leased or rented to others or given in exchange for any compensa-
    tion. This exclusion does not apply to the operation of a covered watercraft or
    trailer by you or a relative;
15. bodily injury or property damage caused by, or reasonably expected to result
    from, a criminal act or omission of that insured person. This exclusion applies re-
    gardless of whether that insured person is actually charged with, or convicted of,
    a crime. For purposes of this exclusion, criminal acts or omissions do not include
    violations of laws or regulations governing the operation of watercraft;
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16. bodily injury or property damage arising out of para-sailing, kite skiing, or any
    other activity involving a device designed for flight;
17. bodily injury or property damage that occurs because a covered watercraft is
    not in seaworthy condition;
18. bodily injury or property damage arising out of an accident involving a water-
    craft or trailer while being towed by or carried by a land motor vehicle;
19. payment for bodily injury, or any other payment or obligation, to any person eli-
    gible to receive any benefits required to be provided by you under the Jones Act
    or Federal Longshoremen’s and Harbor Workers’ Compensation Act; or
20. bodily injury or property damage arising out of an accident while using a water-
    craft as a primary or permanent residence.

LIMITS OF LIABILITY

The limit of liability shown on the declarations page for liability coverage is the most
we will pay regardless of the number of:
1. claims made;
2. covered watercraft;
3. insured persons;
4. lawsuits brought;
5. watercraft or trailers involved in the accident;
6. premiums paid; or
7. trailers.

If your declarations page shows a split limit:
1. the amount shown for “each person” is the most we will pay for all damages due to
     bodily injury to one person resulting from any one accident;
2. subject to the “each person” limit, the amount shown for “each accident” is the
     most we will pay for all damages due to bodily injury sustained by two or more
     persons in any one accident; and
3. the amount shown for “property damage” is the most we will pay for the total of all
     property damage resulting from any one accident.

The “each person” limit of liability applies to the total of all claims made for bodily
injury to a person and all claims of others derived from such bodily injury, includ-
ing, but not limited to, loss of society, loss of companionship, loss of services, loss of
consortium, and wrongful death.

If the declarations page shows that “combined single limit” or “CSL” applies, the
amount shown is the most we will pay for the total of all damages resulting from any
one accident. However, without changing this limit of liability, we will comply with any
law that requires us to provide any separate limits.

The limits of liability under this Part I shall not be reduced by payments made under
Part II - Medical Payments Coverage. However, no one is entitled to duplicate pay-
ments for the same elements of damages.


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Any payment to a person under this Part I will be reduced by any payment to that per-
son under Part III - Uninsured Boater Coverage.

We will not pay under this Part I any expenses paid or payable under Part II - Medical
Payments Coverage.

If multiple boat and personal watercraft policies issued by us are in effect for you, we
will pay no more than the highest limit of liability for this coverage available under any
one policy.

A watercraft and:
1. a trailer which the watercraft is in or on;
2. a trailer to which the watercraft is attached;
3. a trailer which the watercraft is in the process of being placed onto or into; or
4. a trailer from which the watercraft is in the process of being removed;
are considered one watercraft for purposes of determining the limits of liability under
this Part I. Therefore, the limits of liability will not be increased for an accident involving
a watercraft and trailer in any of the aforementioned circumstances.

If you are legally required to pay for the cost of any attempted or actual raising, remov-
al, towing, or destruction of the wreckage of a covered watercraft or a watercraft of
others, then we will pay under this Part I up to the limit of liability for property damage,
reduced by any other amounts paid or payable under this Part I for property damage.
However, if Wreckage Removal Coverage applies under Part IV - Physical Damage
Coverage, we will pay for the cost of any attempted or actual raising, removal, towing,
or destruction of the wreckage of a covered watercraft pursuant to the limits set forth
in the Wreckage Removal Coverage.

OTHER INSURANCE

If there is any other applicable liability insurance or bond, we will pay only our share of
the damages. Our share is the proportion that our limit of liability bears to the total of
all applicable limits. However, any insurance we provide for a watercraft or trailer, other
than a covered watercraft or trailer, will be excess over any other collectible insur-
ance, self-insurance, or bond.

                     PART II - MEDICAL PAYMENTS COVERAGE

INSURING AGREEMENT

If you pay the premium for this coverage, we will pay the reasonable expenses in-
curred for necessary medical services received within three years from the date of an
accident involving a watercraft or trailer because of bodily injury:
1. sustained by an insured person; and
2. caused by that accident.


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We, or someone on our behalf, will determine:
1. whether the expenses for medical services are reasonable; and
2. whether the medical services are necessary.

ADDITIONAL DEFINITIONS

When used in this Part II:
1. “Insured person” means:
   a. you or a relative:
		(i) while occupying a watercraft or trailer; or
		     (ii) when struck, while not occupying a watercraft, by a:
			(a) watercraft; or
			         (b) trailer designed to transport a watercraft and to be towed on public
                 roads by a land motor vehicle; and
   b. any other person while occupying a covered watercraft or trailer with the
       permission of you or a relative.
2. “Medical services” means medical, surgical, funeral, dental, x-ray, ambulance,
   hospital, and professional nursing services, and includes the cost of eyeglasses,
   hearing aids, pharmaceuticals, and orthopedic and prosthetic devices.

EXCLUSIONS - READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN
EXCLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS
PART II.

Coverage under this Part II will not apply to bodily injury:
1. sustained by any person while occupying a covered watercraft or trailer while it
   is being used:
   a. to carry persons or property for compensation or a fee;
   b. in any illegal transportation or trade; or
   c. in any business or occupation.
   Subparts a. and c. of this exclusion do not apply to use of a covered watercraft or
   trailer for tournament fishing;
2. if workers’ compensation benefits, or similar benefits, are available for the bodily
   injury under any state, federal, or maritime law;
3. to any person resulting from, or sustained during practice or preparation for:
   a. any pre-arranged or organized racing, stunting, speed, or demolition contest
        or activity; or
   b. any driving, riding, navigation, piloting, or boating activity conducted on a per-
        manent or temporary racecourse.
   This exclusion does not apply to bodily injury resulting from the use of a sailboat
   in any pre-arranged or organized racing or speed contest, or in practice or prepa-
   ration for any such contest;
4. due to a nuclear reaction or radiation;
5. for which insurance:
   a. is afforded under a nuclear energy liability insurance contract; or
   b. would be afforded under a nuclear energy liability insurance contract but for its
        termination upon exhaustion of its limit of liability;
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6. for which the United States Government is liable under the Federal Tort Claims
    Act;
7. sustained by any person while occupying any watercraft or trailer while located
    for use as a residence or premises;
8. sustained by any person while occupying or when struck by any watercraft or
    trailer owned by you or furnished or available for your regular use, other than a
    covered watercraft or trailer for which this coverage has been purchased;
9. sustained by any person while occupying or when struck by any watercraft or
    trailer owned by a relative or furnished or available for the regular use of a rela-
    tive, other than a covered watercraft or trailer for which this coverage has been
    purchased. This exclusion does not apply to you;
10. to you or a relative while occupying any watercraft or trailer, other than a cov-
    ered watercraft or trailer, without the permission of the owner of the watercraft or
    trailer or the person in lawful possession of the watercraft or trailer;
11. to any person while occupying a covered watercraft or trailer while leased or
    rented to others or given in exchange for any compensation. This exclusion does
    not apply to the operation of a covered watercraft or trailer by you or a relative;
12. caused directly or indirectly by:
    a. war (declared or undeclared) or civil war;
    b. warlike action by any military force of any government, sovereign, or other
          authority using military personnel or agents. This includes any action taken to
          hinder or defend against an actual or expected attack; or
    c. insurrection, rebellion, revolution, usurped power, or any action taken by a gov-
          ernmental authority to hinder or defend against any of these acts;
13. caused directly or indirectly by:
    a. any accidental or intentional discharge, dispersal, or release of radioactive,
          nuclear, pathogenic, or poisonous biological material; or
    b. any intentional discharge, dispersal, or release of chemical or hazardous ma-
          terial for any purpose other than its safe and useful purpose;
14. caused by, or reasonably expected to result from, a criminal act or omission of
    an insured person. This exclusion applies regardless of whether the insured
    person is actually charged with, or convicted of, a crime. For purposes of this ex-
    clusion, criminal acts or omissions do not include violations of laws or regulations
    governing the operation of watercraft;
15. arising out of para-sailing, kite skiing, or any other activity involving a device de-
    signed for flight;
16. sustained by any person while a watercraft or trailer is being towed by or carried by
    a land motor vehicle; or
17. that occurs because the covered watercraft is not in seaworthy condition.

LIMITS OF LIABILITY

The limit of liability shown on the declarations page for Medical Payments Coverage
is the most we will pay for each insured person injured in any one accident regardless
of the number of:
1. claims made;
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2.   covered watercraft;
3.   insured persons;
4.   lawsuits brought;
5.   watercraft or trailers involved in the accident;
6.   premiums paid; or
7.   trailers.

No one will be entitled to duplicate payments under this policy for the same elements
of damages.

Any amount payable to an insured person under this Part II will be reduced by any
amount paid or payable for the same expense under Part I - Liability To Others or Part
III - Uninsured Boater Coverage.

If multiple boat and personal watercraft policies issued by us are in effect for you, we
will pay no more than the highest limit of liability for this coverage available under any
one policy.

UNREASONABLE OR UNNECESSARY MEDICAL EXPENSES

If an insured person incurs expenses for medical services that we deem to be un-
reasonable or unnecessary, we may refuse to pay for those expenses and contest
them.

If the medical service provider sues the insured person because we refuse to pay
expenses for medical services that we deem to be unreasonable or unnecessary, we
will pay any resulting defense costs, and any resulting judgment against the insured
person, subject to the limit of liability for this coverage. We will choose the counsel.
We will also pay reasonable expenses, including loss of earnings up to $200 per day,
incurred at our request.

The insured person may not sue us for expenses for medical services we deem to
be unreasonable or unnecessary unless the insured person paid the entire disputed
amount to the medical service provider or the medical service provider has initiated
collection activity against the insured person for the unreasonable or unnecessary
expenses.

OTHER INSURANCE

If there is other applicable medical payments insurance, we will pay only our share of
the loss. Our share is the proportion that our limit of liability bears to the total of all ap-
plicable limits. However, any insurance we provide for an insured person occupying
a watercraft or trailer, other than a covered watercraft or trailer, will be excess over
any other insurance providing payments for medical services.


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                    PART III - UNINSURED BOATER COVERAGE

INSURING AGREEMENT

If you pay the premium for this coverage, we will pay for damages that an insured
person is legally entitled to recover from the owner or operator of an uninsured wa-
tercraft because of bodily injury:
1. sustained by an insured person;
2. caused by an accident; and
3. arising out of the ownership, maintenance, or use of an uninsured watercraft.

We will pay under this Part III only after the limits of liability under all applicable bodily
injury liability bonds and policies have been exhausted by payment of judgments or
settlements.

Any judgment or settlement for damages against an owner or operator of an unin-
sured watercraft that arises out of a lawsuit brought without our written consent is not
binding on us.

ADDITIONAL DEFINITIONS

When used in this Part III, whether in the singular, plural, or possessive:
1. “Insured person” means:
   a. you or a relative;
   b. any person while operating a covered watercraft with the permission of you
       or a relative;
   c. any person occupying, but not operating, a covered watercraft or a trailer;
       and
   d. any person who is entitled to recover damages covered by this Part III be-
       cause of bodily injury sustained by a person described in a., b., or c. above.
2. “Uninsured watercraft” means a watercraft of any type:
   a. to which no bodily injury liability bond or policy applies at the time of the ac-
       cident;
   b. to which a bodily injury liability bond or policy applies at the time of the ac-
       cident, but the bonding or insuring company:
		     (i) denies coverage; or
		     (ii) is or becomes insolvent;
   c. that is a hit-and-run watercraft whose operator or owner cannot be identified
       and which strikes:
		(i) you or a relative;
		     (ii) a watercraft that you or a relative are occupying; or
		(iii) a covered watercraft or trailer;
		 provided that the insured person, or someone on his or her behalf, reports
       the accident to the coast guard, police, or other civil authority within 24 hours
       or as soon as practicable after the accident; or
   d. to which a bodily injury liability bond or policy applies at the time of the acci-
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         dent, but the sum of all applicable limits of liability for bodily injury is less than
         the coverage limit for Uninsured Boater Coverage shown on the declarations
         page.

    An “uninsured watercraft” does not include any watercraft, trailer, or equipment:
    a. owned by you or a relative or furnished or available for the regular use of you
        or a relative;
    b. owned or operated by a self-insurer, except a self-insurer that is or becomes
        insolvent;
    c. while located for use as a permanent or primary residence;
    d. owned by any governmental unit or agency;
    e. that is a covered watercraft or trailer; or
    f. that is being towed by or carried by a land motor vehicle.

EXCLUSIONS - READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN
EXCLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS
PART III.

Coverage under this Part III will not apply to:
1. bodily injury sustained by any person while using or occupying a covered wa-
   tercraft or trailer while being used:
   a. to carry persons or property for compensation or a fee;
   b. in any illegal transportation or trade; or
   c. in any business or occupation.
   Subparts a. and c. of this exclusion do not apply to use of a covered watercraft or
   trailer for tournament fishing;
2. bodily injury sustained by any person while using or occupying a watercraft or
   trailer that is owned by or available for the regular use of you or a relative. This
   exclusion does not apply to a covered watercraft or trailer that is insured under
   this Part III;
3. bodily injury sustained by you or a relative while using any watercraft or trailer,
   other than a covered watercraft or trailer, without the permission of the owner of
   the watercraft or trailer or the person in lawful possession of the watercraft or trailer;
4. directly or indirectly benefit any insurer or self-insurer under any of the following or
   similar laws:
   a. workers’ compensation law;
   b. disability benefits law;
   c. Jones Act; or
   d. Federal Longshoremen’s and Harbor Workers’ Compensation Act;
6. bodily injury sustained by any person if that person or the legal representative of
   that person settles without our written consent;
7. bodily injury sustained by any person resulting from, or sustained during practice
   or preparation for:
   a. any pre-arranged or organized racing, stunting, speed, or demolition contest
         or activity; or

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    b.  any driving, riding, navigation, piloting, or boating activity conducted on a per-
        manent or temporary racecourse.
   This exclusion does not apply to bodily injury resulting from the use of a sailboat
   in any pre-arranged or organized racing or speed contest, or in practice or prepa-
   ration for any such contest;
8. bodily injury sustained by any person while using or occupying:
   a. a para-sail, kite ski, or any other device designed for flight;
   b. a covered watercraft or trailer while leased or rented to others or given in
        exchange for any compensation; or
   c. a covered watercraft or trailer without the express or implied permission of
        you, a relative, or the owner of the covered watercraft or trailer; or
9. any accident involving a watercraft or trailer that is being towed by or carried by a
   land motor vehicle.

LIMITS OF LIABILITY

The limit of liability shown on the declarations page for Uninsured Boater Coverage
is the most we will pay regardless of the number of:
1. claims made;
2. covered watercraft;
3. insured persons;
4. lawsuits brought;
5. watercraft or trailers involved in the accident;
6. premiums paid; or
7. trailers.

If the declarations page shows that “combined single limit” or “CSL” applies, the
amount shown is the most we will pay for all damages resulting from any one accident.
However, without changing this total limit of liability, we will comply with any law that
requires us to provide any separate limits.

If your declarations page shows a split limit:
1. the amount shown for “each person” is the most we will pay for all damages due to
     bodily injury to one person resulting from any one accident; and
2. subject to the “each person” limit, the amount shown for “each accident” is the
     most we will pay for all damages due to bodily injury sustained by two or more
     persons in any one accident.

The “each person” limit of liability includes the total of all claims made for bodily injury
to an insured person and all claims of others derived from such bodily injury, includ-
ing, but not limited to, emotional injury or mental anguish resulting from the bodily
injury of another or from witnessing the bodily injury to another, loss of society, loss
of companionship, loss of services, loss of consortium, and wrongful death.

The Limits of Liability under this Part III shall be reduced by all sums:
1. paid because of bodily injury by or on behalf of any persons or organizations that
    may be legally responsible;
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2. paid or payable under Part I - Liability To Others; and
3. paid or payable because of bodily injury under any of the following or similar
   laws:
   a. workers’ compensation law;
   b. disability benefits law;
   c. Jones Act; or
   d. Federal Longshoremen’s and Harbor Workers’ Compensation Act.

We will not pay under this Part III any expenses paid or payable under Part II - Medical
Payments Coverage.

No one will be entitled to duplicate payments for the same elements of damages.

If multiple boat and personal watercraft policies issued by us are in effect for you, we
will pay no more than the highest limit of liability for this coverage available under any
one policy.

OTHER INSURANCE

If there is other applicable uninsured or underinsured boater coverage or similar cover-
age, we will pay only our share of the damages. Our share is the proportion that our
limit of liability bears to the total of all available coverage limits. However, any insurance
we provide with respect to a watercraft that is not a covered watercraft, or with respect
to a trailer that is not a trailer, will be excess over any other uninsured or underinsured
boater coverage or similar coverage.

ARBITRATION

If we and an insured person cannot agree on:
1. the legal liability of the operator or owner of an uninsured watercraft; or
2. the amount of the damages sustained by the insured person;
this will be determined by arbitration if we and the insured person mutually agree to
arbitration prior to the expiration of the bodily injury statute of limitations in the state in
which the accident occurred.

In the event of arbitration, each party will select an arbitrator. The two arbitrators will se-
lect a third. If the two arbitrators cannot agree on a third arbitrator within 30 days, then
on joint application by the insured person and us, the third arbitrator will be appointed
by a court having jurisdiction.

Each party will pay the costs and fees of its arbitrator and any other expenses it incurs.
The costs and fees of the third arbitrator will be shared equally.

Unless both parties agree otherwise, arbitration will take place in the county in which
the insured person resides. Local rules of procedure and evidence will apply.


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A decision agreed to by two of the arbitrators will be binding with respect to a determi-
nation of:
1. the legal liability of the operator or owner of an uninsured watercraft; and
2. the amount of the damages sustained by the insured person.
The arbitrators will have no authority to award an amount in excess of the limit of li-
ability.

We and an insured person may agree to an alternate form of arbitration.

                    PART IV - PHYSICAL DAMAGE COVERAGE

INSURING AGREEMENT - COLLISION COVERAGE

If you pay the premium for this coverage, we will pay for sudden, direct and accidental
loss to a covered watercraft resulting from collision.

INSURING AGREEMENT - COMPREHENSIVE COVERAGE

If you pay the premium for this coverage, we will pay for sudden, direct and accidental
loss to a covered watercraft that is not caused by collision.

A loss not caused by collision includes:
1. impact with an animal (including a bird);
2. explosion or earthquake;
3. fire;
4. malicious mischief or vandalism;
5. missiles or falling objects;
6. riot or civil commotion;
7. theft or larceny;
8. windstorm, hail, water, or flood; or
9. breakage of glass not caused by collision.

ADDITIONAL DEFINITIONS

When used in this Part IV:
1. “Agreed value” means the “agreed value” as shown on the declarations page.
2. “Collision” means the upset of a watercraft or trailer or its impact with another
   watercraft or object. Collision includes those collisions caused by the failure of a
   line or mooring device securing a watercraft, other than such failures resulting
   from a:
   a. windstorm;
   b. flood;
   c. hailstorm;
   d. rainstorm; or
   e. thunderstorm or other weather event;
   for which a governmental agency issued a watch, warning, advisory, or similar
   notice.
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3. “Covered watercraft” means a “covered watercraft” as defined in the “General
   Definitions” section of this policy, including the following components:
   a. motor(s);
   b. permanent equipment even if temporarily stored ashore;
   c. portable boating equipment while used with the covered watercraft or
       while temporarily stored ashore; and
   d. trailer.
4. “Purchase price” means the “purchase price” as shown on the declarations
   page.

EXCLUSIONS - READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN
EXCLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS
PART IV.

Coverage under this Part IV will not apply for loss:
1. to any watercraft or trailer while being used:
   a. to carry persons or property for compensation or a fee;
   b. in any illegal transportation or trade; or
   c. in any business or occupation.
   Subparts a. and c. of this exclusion do not apply to use of a covered watercraft or
   trailer for tournament fishing;
2. to any watercraft or trailer caused by, or reasonably expected to result from, a
   criminal act or omission of you, a relative, or the owner of a covered watercraft.
   This exclusion applies regardless of whether you, the relative, or the owner of
   the covered watercraft is actually charged with, or convicted of, a crime. For pur-
   poses of this exclusion, criminal acts or omissions do not include violations of laws
   or regulations governing the operation of watercraft;
3. that occurs because a covered watercraft is not in seaworthy condition;
4. resulting from, or sustained during practice or preparation for:
   a. any pre-arranged or organized racing, stunting, speed, or demolition contest
        or activity; or
   b. any driving, riding, navigation, piloting, or boating activity conducted on a per-
        manent or temporary racecourse.
   This exclusion does not apply to loss resulting from the use of a sailboat in any
   pre-arranged or organized racing or speed contest, or in practice or preparation for
   any such contest;
5. to any watercraft or trailer for which insurance:
   a. is afforded under a nuclear energy liability insurance contract; or
   b. would be afforded under a nuclear energy liability insurance contract but for its
        termination upon exhaustion of its limit of liability;
6. due to destruction or confiscation of a covered watercraft by governmental or civil
   authorities because you or any relative engaged in illegal activities;
7. caused by an intentional act committed by or at the direction of you, a relative, or
   the owner of a covered watercraft, even if the actual damage is different than that
   which was intended or expected;

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8. caused directly or indirectly by:
    a. wear and tear;
    b. gradual deterioration of any kind including, but not limited to, weathering, rust,
         corrosion, mold, wet or dry rot, osmosis, delamination, or blistering;
    c. dock rash or other gradual marring or scratching;
    d. mechanical, electrical, or structural breakdown; or
    e. any design, manufacturing, or latent defect;
    of any watercraft. This exclusion does not apply:
    a. if the damage results from the theft of a covered watercraft; or
    b.	to ensuing loss caused by consequential sinking, burning, explosion or colli-
         sion of a covered watercraft;
9. due and confined to:
    a. wear and tear;
    b. mechanical, electrical, or structural breakdown; or
    c. any design, manufacturing, or latent defect;
    of any trailer;
10. caused directly or indirectly by:
    a. insects, birds, or other animals, including rodents and other types of vermin,
         unless the covered watercraft sustaining the loss was secured with a fitted
         cover at the time of the loss;
    b. marine life; or
    c. smog, humidity, mildew, mold, ice, freezing, thawing, or extremes of tempera-
         ture.
    This exclusion does not apply to:
    a. loss resulting from impact with an animal or marine life; or
    b.	ensuing loss caused by consequential sinking, burning, explosion or collision
         of a covered watercraft;
11. due to theft or conversion of a covered watercraft:
    a. by you, a relative, or any resident of your household;
    b. prior to its delivery to you or a relative; or
    c. while on a trailer and in the care, custody, or control of anyone engaged pri-
         marily in the business of selling the covered watercraft while the covered
         watercraft is left in an unsecured condition or location for purposes of selling;
12. to any personal property other than a covered watercraft;
13. to a covered watercraft for diminution of value;
14. to a covered watercraft while it is leased or rented to others or given in exchange
    for any compensation. This exclusion does not apply to the operation of a covered
    watercraft by you or a relative;
15. to a covered watercraft if repairs are made in Mexico, except for those repairs
    that must be performed in Mexico in order to return the covered watercraft to the
    United States;
16. caused directly or indirectly by:
    a. war (declared or undeclared) or civil war;
    b. warlike action by any military force of any government, sovereign, or other
         authority using military personnel or agents. This includes any action taken to
         hinder or defend against an actual or expected attack; or
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     c.   insurrection, rebellion, revolution, usurped power, or any action taken by a
          governmental authority to hinder or defend against any of these acts;
17. to any covered watercraft caused directly or indirectly by:
     a. any accidental or intentional discharge, dispersal, or release of radioactive,
          nuclear, pathogenic, or poisonous biological material; or
     b. any intentional discharge, dispersal, or release of chemical or hazardous ma-
          terial for any purpose other than its safe and useful purpose;
18. arising out of an accident while using a watercraft as a primary or permanent
     residence; or
19.	that occurs because a covered watercraft has not been properly winterized in
     accordance with the manufacturer’s specifications, subject to local customs.

LIMITS OF LIABILITY

1. The limit of liability for loss to a covered watercraft is the lowest of:
   a. the actual cash value of the stolen or damaged property at the time of the
       loss, reduced by the applicable deductible. If the stolen or damaged property
       was an additional watercraft or replacement watercraft, the actual cash
       value for purposes of this subparagraph a. will not exceed the watercraft value
       shown on your declarations page unless you have notified us of the ad-
       ditional watercraft or replacement watercraft and paid any additional pre-
       mium due;
   b. the amount necessary to replace the stolen or damaged property, reduced by
       the applicable deductible;
   c. the amount necessary to repair the damaged property to its pre-loss condi-
       tion, reduced by the applicable deductible; or
   d. the amount shown on the declarations page for that covered watercraft.
2. Payments for loss to a covered watercraft are subject to the following provi-
   sions:
   a. Coverage for permanent equipment and portable boating equipment will
       not cause our limit of liability for loss to a watercraft under this Part IV to be
       increased to an amount in excess of the actual cash value of the watercraft,
       including its permanent equipment and portable boating equipment.
   b. A deductible of $250 shall apply to each loss to a trailer. However, no deduct-
       ible shall apply for loss to a trailer if you have incurred any other deductible
       under Collision Coverage or Comprehensive Coverage for the same loss.
   c. A deductible of $500 shall apply to each loss to marine electronics. How-
       ever, no deductible shall apply for loss to marine electronics if you have
       incurred any other deductible under Collision Coverage or Comprehensive
       Coverage for the same loss.
   d. If two or more deductibles apply to any one covered loss, only the lowest de-
       ductible will apply.
   e. In determining the amount necessary to repair damaged property to its pre-
       loss condition, the amount to be paid by us:
		     (i) will not exceed the prevailing competitive labor rates charged in the area

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              where the property is to be repaired, and the cost of repair or replace-
              ment parts and equipment, as reasonably determined by us; and
		 (ii) will be based on the cost of repair or replacement parts and equipment
              which may be new, reconditioned, remanufactured, or used, including,
              but not limited to:
			           (a) original manufacturer parts or equipment; and
			           (b) nonoriginal manufacturer parts or equipment.
   f. We may make reductions for unrepaired prior damage in determining the
         amount of loss.
   g. The actual cash value is determined by the market value, age, and condition
         of the covered watercraft at the time the loss occurs.
   h. In the event of a loss to part of a pair, set or series of objects, pieces, or pan-
         els, we may elect to:
		       (i)	pay to repair or replace any part needed to restore the pair, set, or series
              to its pre-loss condition, reduced by the applicable deductible; or
		 (ii)	pay the cost of a substitute part that reasonably matches the remainder
              of the pair, set, or series, reduced by the applicable deductible.
		      We have no obligation to repair or replace the entire pair, set, or series if only
         a portion is lost or damaged.
3. If there is more than one covered watercraft, coverage will be provided as speci-
   fied on the declarations page as to each covered watercraft.
4. In the event of a loss to an inflatable covered watercraft, we will pay for repairs
   made in accordance with the manufacturer’s specifications or accepted repair
   practices, including repairs by airtight patch or similar method.
5. Duplicate recovery for the same elements of damages is not permitted.

INSURING AGREEMENT - TOTAL LOSS REPLACEMENT/
PURCHASE PRICE COVERAGE

If you pay the premium for this coverage for a covered watercraft, then subsection 1.
of the Limits of Liability provision under this Part IV shall not apply, and the following
provision shall apply to a loss to that covered watercraft:

 The limit of liability for a covered watercraft for which Total Loss Replacement/
1.
 Purchase Price Coverage was purchased is as follows:
 a. for a loss that we determine to be a total loss to the covered watercraft:
		(i) if the covered watercraft is, at the time of the total loss, the current model
          year or the first through fourth preceding model year, and:
			(a) you replace the covered watercraft, our limit of liability shall be the
                cost, as determined by us, of a replacement watercraft that is:
				            (1)	to the extent possible, the same make, class, size, and type as,
                      and which contains comparable equipment to, the covered wa-
                      tercraft; and
				 (2)	of any model year, as determined by us, but no older than the
                      model year of the covered watercraft;
				            reduced by the applicable deductible; or
                                            19
			(b) you do not replace the covered watercraft, our limit of liability shall
               be the purchase price for the covered watercraft, reduced by the
               applicable deductible; or
		(ii) if the covered watercraft is, at the time of the total loss, the fifth preced-
          ing model year or older, our limit of liability shall be the purchase price,
          reduced by the applicable deductible;
  b. for a loss to the covered watercraft that we determine to not be a total loss,
     our limit of liability is the lowest of:
		 (i) the amount necessary to replace the stolen or damaged property, re-
          duced by the applicable deductible;
		   (ii) the amount necessary to repair the damaged property to its pre-loss con-
          dition, reduced by the applicable deductible; or
		(iii) the purchase price for the covered watercraft, reduced by the appli-
          cable deductible.

INSURING AGREEMENT - AGREED VALUE COVERAGE

If you pay the premium for this coverage for a covered watercraft, then subsection 1.
of the Limits of Liability provision under this Part IV shall not apply, and the following
provision shall apply to a loss to that covered watercraft:

1.The limit of liability for a covered watercraft for which Agreed Value Coverage
  was purchased is as follows:
  a. for a loss that we determine to be a total loss to the covered watercraft, our
     limit of liability is the agreed value for the covered watercraft, reduced by the
     applicable deductible;
  b. for a loss to the covered watercraft that we determine to not be a total loss,
     our limit of liability is the lowest of:
		 (i) the amount necessary to replace the stolen or damaged property, re-
           duced by the applicable deductible;
		   (ii) the amount necessary to repair the damaged property to its pre-loss con-
           dition, reduced by the applicable deductible; or
		(iii) the agreed value for the covered watercraft, reduced by the applicable
			deductible.

INSURING AGREEMENT - WRECKAGE REMOVAL COVERAGE

If you pay the premium for Collision Coverage and Comprehensive Coverage, we will
pay reasonable costs incurred by you for any attempted or actual raising, removal, tow-
ing, or destruction of the wreckage of a covered watercraft resulting from any loss for
which Collision Coverage or Comprehensive Coverage is provided under this Part IV.

If you are legally required to raise, remove, tow, or destroy the wreckage, our limit of
liability for costs incurred shall not exceed the sum of:
1. the limit of liability for property damage coverage, if any, shown on the declara-
      tions page for such covered watercraft, reduced by any amounts paid or pay-
      able for property damage under Part I - Liability To Others;
                                           20
2. the agreed value, purchase price, or amount shown on the declarations page
   for that covered watercraft, reduced by the amount paid or payable under this
   Part IV for loss to the covered watercraft and by the applicable Collision Cover-
   age or Comprehensive Coverage deductible; and
3. five percent of the agreed value, purchase price, or amount shown on the dec-
   larations page for that covered watercraft.

If you are not legally required to raise, remove, tow, or destroy the wreckage, our limit
of liability for costs incurred shall not exceed the sum of:
1. the agreed value, purchase price, or amount shown on the declarations page
      for that covered watercraft, reduced by the amount paid or payable under this
      Part IV for loss to the covered watercraft and by the applicable Collision Cover-
      age or Comprehensive Coverage deductible; and
2. five percent of the agreed value, purchase price, or amount shown on the dec-
      larations page for that covered watercraft.

INSURING AGREEMENT - MEXICO COVERAGE

In addition to the territory specified in Part VIII - General Provisions, if you pay the
premium for Collision Coverage and Comprehensive Coverage, coverage under this
Part IV shall apply to any loss meeting the requirements for coverage under this Part IV
that occurs within any state, territory, or possession of Mexico, including ocean waters
within 75 nautical miles of its coast. Payment for any loss covered under this Part IV
that occurs in Mexico will be made in the United States. If a covered watercraft must
be repaired in Mexico, we will pay only for those repairs that must be performed in
order to return the covered watercraft to the United States and we will not pay more
than the reasonable cost for such repairs usually charged at the nearest port of call in
the United States.

This Mexico Coverage does not apply if liability insurance from a licensed Mexican
insurance company is not in force at the time of loss.

The covered watercraft shall not remain in any state, territory, possession, or territo-
rial waters of Mexico for more than 30 consecutive days. If the covered watercraft
remains in any state, territory, possession, or territorial waters of Mexico for more than
30 consecutive days, the Mexico Coverage afforded under this Part IV shall not apply
beyond the 30 days and shall not be available again until the covered watercraft exits
any state, territory, possession, or territorial waters of Mexico and returns to within 75
nautical miles from the coast of the United States or Canada.

WARNING: WATERCRAFT ACCIDENTS IN MEXICO ARE SUBJECT TO THE
LAWS OF MEXICO, NOT THE LAWS OF THE UNITED STATES. UNDER
MEXICAN LAW, WATERCRAFT ACCIDENTS MIGHT BE CONSIDERED
A CRIMINAL OFFENSE AS WELL AS A CIVIL MATTER. YOU MIGHT BE
REQUIRED BY MEXICAN LAW TO PURCHASE LIABILITY INSURANCE
THROUGH A LICENSED MEXICAN INSURANCE COMPANY. THE COVER-
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AGE WE PROVIDE UNDER THIS POLICY DOES NOT MEET MEXICAN IN-
SURANCE REQUIREMENTS.

INSURING AGREEMENT - WATERCRAFT EMERGENCY
TOWING AND LABOR COVERAGE

Subject to the limit of liability shown on the declarations page, if you pay the premium
for this coverage, we will reimburse you for towing and labor costs, and the delivery
costs for parts and supplies, that are incurred by you as a result of the disablement of
a covered watercraft while afloat, provided that:
1. the labor is performed at the place of disablement; and
2. the disablement does not occur where the covered watercraft is usually kept.
We will not reimburse you for the cost of the parts and supplies themselves.

A deductible does not apply to this coverage.

Duplicate recovery for identical elements of damages is not permitted under this pol-
icy.

INSURING AGREEMENT - ROADSIDE ASSISTANCE COVERAGE

If Roadside Assistance Coverage is shown on the declarations page, we will pay for
our authorized service representative to provide the following services when neces-
sary due to a covered emergency while your covered watercraft is being towed by
or carried by a land motor vehicle or being loaded or unloaded from its trailer:
1. towing of the motor vehicle and covered watercraft (including trailer) to the near-
     est qualified repair facility; and
2. labor on the motor vehicle and/or trailer at the place of disablement.

If the motor vehicle and covered watercraft (including trailer) are towed to any place
other than the nearest qualified repair facility, you will be responsible for any additional
charges incurred.

As used in this Roadside Assistance Coverage, “covered emergency” means a dis-
ablement of a motor vehicle or trailer that results from:
1. mechanical or electrical breakdown;
2. battery failure;
3. insufficient supply of fuel, oil, water, or other fluid;
4. a flat tire;
5. lock-out; or
6. entrapment in snow, mud, or sand within 100 feet of a road or highway.

Roadside Assistance Coverage will not apply to:
1. the cost of purchasing parts, fluid, lubricants, fuel, or replacement keys, or the
   labor to make replacement keys;
2. installation of products and materials not related to the disablement;
3. labor not related to the disablement;
                                            22
4. labor for any time period in excess of 60 minutes per disablement;
5. towing or storage related to impoundment, abandonment, illegal parking, or other
    violations of law;
6. assistance with jacks, levelers, airbags, or awnings;
7. damage or disablement due to fire, flood, or vandalism;
8. towing from a service station, garage, or repair shop;
9. labor or repair work performed at a service station, garage, or repair shop;
10. vehicle storage charges;
11. a second service call or tow for a single disablement;
12. disablement that occurs on roads not regularly maintained, sand beaches, open
    fields, or areas designated as not passable due to construction, weather, or earth
    movement;
13. mounting or removing of snow tires or chains;
14. tire repair;
15. repeated service calls for a motor vehicle or trailer in need of routine maintenance
    or repair;
16. disablement that results from an intentional or willful act or action by you, a rela-
    tive, or the operator of the motor vehicle or trailer;
17. off-road vehicles which are not subject to motor vehicle registration and licensing;
    or
18. motor vehicles or trailers used for business or commercial purposes.

When service is rendered by a provider in the business of providing roadside assis-
tance and towing services, other than one of our authorized service representatives,
we will pay only reasonable charges, as determined by us, for:
1. towing of a motor vehicle and covered watercraft (including trailer) to the nearest
    qualified repair facility; and
2. labor on a motor vehicle and/or trailer at the place of disablement;
which is necessary due to a covered emergency.

Any coverage provided under this Roadside Assistance Coverage for service rendered
by an unauthorized service provider will be excess over any other collectible insurance
or towing protection coverage.

INSURING AGREEMENT - DISAPPEARING DEDUCTIBLES

If Disappearing Deductibles is shown on the declarations page, then the following is
added to the Limits of Liability provision under this Part IV:

	If, during any policy period, you do not have a loss under Collision Coverage nor
  Comprehensive Coverage for which we have paid any amount, then:
  1. any deductible for Collision Coverage and Comprehensive Coverage for a
        watercraft for which the declarations page shows Disappearing Deduct-
        ibles shall be reduced for the following policy period by 25 percent; and
  2. no deductible for Collision Coverage and Comprehensive Coverage for a wa-
        tercraft for which the declarations page shows Disappearing Deductibles
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         will apply for the fifth policy period and thereafter if you do not have any losses
         during the previous four consecutive policy periods.

	If you have a loss at any time for which we make a payment under Collision Cov­
  erage or Comprehensive Coverage, then the most recent elected deductibles for
  Collision Coverage and Comprehensive Coverage will be restored for the sub-
  sequent policy period for each watercraft for which Disappearing Deductibles is
  shown on the declarations page. Thereafter, the deductibles for each watercraft
  for which Disappearing Deductibles is shown on the declarations page may
  again be reduced if the conditions set forth above are satisfied.

	Reductions and increases in the deductible under this provision shall apply to
  all watercraft for which Disappearing Deductibles is shown on the declarations
  page.

    The provisions in this policy regarding Disappearing Deductibles will reduce or
    eliminate the deductible for loss to a covered watercraft only if the declarations
    page shows Disappearing Deductibles for that covered watercraft. The provi-
    sions in this policy regarding Disappearing Deductibles will not reduce or eliminate
    the deductible for loss to trailers or marine electronics.

PAYMENT OF LOSS

We may, at our option:
1. pay for the loss in money; or
2. repair or replace the damaged or stolen property.

At our expense, we may return any recovered stolen property to you or to the address
shown on the declarations page, with payment for any damage resulting from the
theft. We may keep all or part of the property at the agreed or appraised value.

We may settle any loss with you or the owner or lienholder of the property.

SALVAGE

If we pay the actual cash value of your covered watercraft less any applicable de-
ductible, or if we pay the amount necessary to replace your covered watercraft less
any applicable deductible, we are entitled to all salvage. If we determine that your cov-
ered watercraft is a total loss and we pay the applicable limit of liability shown on the
declarations page, we are entitled to the same percent of salvage as our payment
bears to the actual cash value of your covered watercraft.

NO BENEFIT TO BAILEE

Coverage under this Part IV will not directly or indirectly benefit any carrier or other
bailee for hire.
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LOSS PAYEE AGREEMENT

If a covered watercraft is deemed by us to be a total loss, payment under this Part IV
will be made according to your interest and the interest of any loss payee or lienholder
shown on the declarations page or designated by you. Payment may be made to
both jointly, or separately, at our discretion. We may make payment for a partial loss
covered under this Part IV directly to the repair facility with your consent.

The loss payee or lienholder’s interest will not be protected where fraud, misrepre-
sentation, material omission, or intentional damage has been committed by or at the
direction of you or a relative, or where the loss is otherwise not covered under the
terms of this policy.

We will be entitled to the loss payee or lienholder’s rights of recovery, to the extent of
our payment to the loss payee or lienholder.

OTHER SOURCES OF RECOVERY

If other sources of recovery also cover the loss, we will pay only our share of the loss.
Our share is the proportion that our limit of liability bears to the total of all applicable
limits. However, any insurance that we provide for a watercraft, other than a covered
watercraft, will be excess over any other collectible source of recovery including, but
not limited to:
1. any coverage provided by the owner of a watercraft other than a covered water-
      craft;
2. any other applicable physical damage insurance; and
3. any other source of recovery applicable to the loss.

APPRAISAL

If we cannot agree with you on the amount of a loss, then we or you may demand
an appraisal of the loss. Within 30 days of any demand for an appraisal, each party
shall appoint a competent appraiser and shall notify the other party of that appraiser’s
identity. The appraisers will determine the amount of loss. If they fail to agree, the dis-
agreement will be submitted to a qualified umpire chosen by the appraisers. If the two
appraisers are unable to agree upon an umpire within 15 days, we or you may request
that a judge of a court of record, in the county where you reside, select an umpire. The
appraisers and umpire will determine the amount of loss. The amount of loss agreed
to by both appraisers, or by one appraiser and the umpire, will be binding. You will pay
your appraiser’s fees and expenses. We will pay our appraiser’s fees and expenses.
All other expenses of the appraisal, including payment of the umpire if one is selected,
will be shared equally between us and you. Neither you nor we waive any rights un-
der this policy by agreeing to an appraisal.




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      PART V - REPLACEMENT COST PERSONAL EFFECTS COVERAGE

INSURING AGREEMENT

If you pay the premium for this coverage, we will pay for sudden, direct and accidental
loss to personal effects and non-owned personal effects while in or on a covered
watercraft.

No coverage is provided for theft of personal effects or non-owned personal ef-
fects unless such items are stolen from a locked compartment or cabin, the theft is
supported by evidence of forcible entry, and the insured person, or someone on his or
her behalf, reports the theft to the United States Coast Guard, the police, or other civil
authority within 24 hours or as soon as practicable after the loss.

ADDITIONAL DEFINITIONS

When used in this Part V:
1. “Fishing equipment” means any sport fishing gear and equipment that is used in
   the taking of fish for sport and recreation, or for personal consumption, including,
   but not limited to, rods, reels, lures, lines, and tackle boxes. “Fishing equipment”
   does not include permanent equipment, portable boating equipment, or per-
   sonal effects.
2. “Non-owned personal effects” means clothing and other personal property, not
   owned by you or a relative, which is lawfully in the possession of you or a rela-
   tive. “Non-owned personal effects” does not include:
   a. money, traveler’s checks, securities, evidence of debt, or valuable papers or
        documents;
   b. jewelry, watches, gems, precious stones, silver, gold, or other precious met-
        als;
   c. antiques, fine arts, liquor, or furs;
   d. computer hardware and software;
   e. any property used in your or a relative’s business or employment;
   f. animals (including birds and fish);
   g. fishing equipment;
   h. permanent equipment; or
   i. portable boating equipment.
3. “Personal effects” means clothing and other personal property owned by you or
   a relative. “Personal effects” does not include:
   a. money, traveler’s checks, securities, evidence of debt, or valuable papers or
        documents;
   b. jewelry, gems, precious stones, watches, silver, gold, or other precious met-
        als;
   c. antiques, fine arts, liquor, or furs;
   d. computer hardware and software;
   e. any property used in your or a relative’s business or employment;
   f. animals (including birds and fish);
                                           26
    g. fishing equipment;
    h. permanent equipment; or
    i. portable boating equipment.

EXCLUSIONS - READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN
EXCLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS
PART V.

Coverage under this Part V does not apply to any loss to personal effects or non-
owned personal effects:
1. while the covered watercraft is being used:
   a. to carry persons or property for compensation or a fee;
   b. in any illegal transportation or trade; or
   c. for commercial or business purposes.
   Subparts a. and c. of this exclusion do not apply to use of a covered watercraft for
   tournament fishing;
2. caused by, or reasonably expected to result from, a criminal act or omission of
   you, a relative, or the owner of the non-owned personal effects. This exclusion
   applies regardless of whether you, the relative, or the owner of the non-owned
   personal effects is actually charged with, or convicted of, a crime. For purposes
   of this exclusion, criminal acts or omissions do not include violations of laws or
   regulations governing the operation of watercraft;
3. that occurs because the covered watercraft is not in seaworthy condition;
4. resulting from, or sustained during practice or preparation for:
   a. any pre-arranged or organized racing, stunting, speed, or demolition contest
        or activity; or
   b. any driving, riding, navigation, piloting, or boating activity conducted on a per-
        manent or temporary racecourse.
   This exclusion does not apply to loss resulting from the use of a sailboat in any
   pre-arranged or organized racing or speed contest, or in practice or preparation for
   any such contest;
5. due to a nuclear reaction or radiation;
6. for which insurance:
   a. is afforded under a nuclear energy liability insurance contract; or
   b. would be afforded under a nuclear energy liability insurance contract but for its
        termination upon exhaustion of its limit of liability;
7. due to destruction or confiscation by governmental or civil authorities because
   you or any relative engaged in illegal activities;
8. caused by an intentional act committed by or at the direction of you, a relative,
   or the owner of the non-owned personal effects, even if the actual damage is
   different than that which was intended or expected;
9. caused directly or indirectly by:
   a. wear and tear;
   b. gradual deterioration of any kind including, but not limited to, weathering, rust,
        corrosion, mold, wet or dry rot, osmosis, or blistering;
   c. dock rash or other gradual marring or scratching;
                                          27
      d. mechanical, electrical, or structural breakdown, except for subsequent loss by
           fire or explosion; or
      e. any design, manufacturing, or latent defect;
      of any watercraft or trailer. This exclusion does not apply:
      a. if the damage results from the theft of a covered watercraft; or
      b.	to ensuing loss caused by consequential sinking, burning, explosion or colli-
           sion of a covered watercraft;
10.   caused directly or indirectly by:
      a. insects, birds, or other animals, including rodents and other types of vermin,
           unless the covered watercraft where the personal effects or non-owned
           personal effects were located at the time of the loss was secured with a fitted
           cover at the time of the loss;
      b. marine life; or
      c. smog, humidity, mildew, mold, freezing, thawing, or extremes of temperature.
      This exclusion does not apply to:
      a. loss resulting from impact with an animal or marine life; or
      b.	ensuing loss caused by consequential sinking, burning, explosion or collision
           of a covered watercraft;
11.   due to theft or conversion of such personal effects or non-owned personal ef-
      fects:
      a. by you, a relative, or any resident of your household; or
      b. prior to their delivery to you or a relative;
12.   for diminution of value;
13.   while the personal effects or non-owned personal effects, or the covered wa-
      tercraft which they are in or on, are leased or rented to others or given in ex-
      change for any compensation. This exclusion does not apply when you or a rela-
      tive is using the personal effects, non-owned personal effects, or the covered
      watercraft which the personal effects or non-owned personal effects are in or
      on;
14.   caused directly or indirectly by:
      a. war (declared or undeclared) or civil war;
      b. warlike action by any military force of any government, sovereign, or other
           authority using military personnel or agents. This includes any action taken to
           hinder or defend against an actual or expected attack; or
      c. insurrection, rebellion, revolution, usurped power, or any action taken by a
           governmental authority to hinder or defend against any of these acts;
15.   caused directly or indirectly by:
      a. any accidental or intentional discharge, dispersal, or release of radioactive,
           nuclear, pathogenic, or poisonous biological material; or
      b. any intentional discharge, dispersal, or release of chemical or hazardous ma-
           terial for any purpose other than its safe and useful purpose;
16.   arising out of an accident while using a watercraft as a primary or permanent resi-
      dence; or
17.   that occurs because a covered watercraft has not been properly winterized in
      accordance with the manufacturer’s specifications, subject to local customs.


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LIMITS OF LIABILITY

1.   The limit of liability for loss to personal effects and non-owned personal effects
     will be the lowest of:
     a. the amount necessary to replace the stolen or damaged property, reduced by
           any applicable deductible;
     b. the amount necessary to repair the damaged property to its pre-loss condi-
           tion, reduced by any applicable deductible;
     c. any applicable limit set forth in subsection 2. or 3. below; or
     d. the amount shown on the declarations page for Replacement Cost Personal
           Effects Coverage.

   The limit of liability for loss to part of a pair, set or series of objects, pieces, or pan-
   els is the lowest of:
   a. the cost to repair or replace the part that restores the pair, set, or series to its
        pre-loss condition, reduced by the applicable deductible; or
   b. the cost of a substitute part that reasonably matches the remainder of the
        pair, set, or series.
   We have no obligation to repair or replace the entire pair, set, or series if only a
   portion is lost or damaged.
2. The limit for the combined loss to all non-owned personal effects in any one loss
   is the aggregate of $500.
3. The limit for loss to any one item of personal effects in any one loss is $1,000.
4. Payments for loss covered under this Part V are subject to the following provi-
   sions:
   a. a deductible of $250 shall apply to each loss to personal effects or non-
        owned personal effects;
   b. no more than one deductible shall be applied to any one covered loss;
   c. in determining the amount necessary to repair damaged property to its pre-
        loss condition, the amount to be paid by us:
		      (i) will not exceed the prevailing competitive labor rates charged in the area
             where the property is to be repaired, and the cost of repair or replace-
             ment parts and equipment, as reasonably determined by us; and
		 (ii) will be based on the cost of repair or replacement parts and equipment
             which may be new, reconditioned, remanufactured, or used, including,
             but not limited to:
			          (a) original manufacturer parts or equipment; and
			          (b) nonoriginal manufacturer parts or equipment; and
   d. duplicate recovery under this policy for the same elements of loss is not per-
        mitted.

PAYMENT OF LOSS

We may, at our option:
1. pay for the loss in money; or
2. repair or replace the damaged or stolen property.
                                              29
At our expense, we may return any recovered stolen property to you or to the address
shown on the declarations page, with payment for any damage resulting from the
theft. We may keep all or part of the property at the agreed or appraised value.

We may settle any loss with you or the owner or lienholder of the property.

NO BENEFIT TO BAILEE

Coverage under this Part V will not directly or indirectly benefit any carrier or other
bailee for hire.

OTHER SOURCES OF RECOVERY

The insurance that we provide under this Part V for personal effects is primary. How-
ever, any insurance that we provide for a loss to non-owned personal effects shall
apply as excess coverage over any other collectible source of recovery including, but
not limited to, any coverage provided by homeowners, renters, or tenants insurance.

APPRAISAL

If we cannot agree with you on the amount of a loss, then we or you may demand
an appraisal of the loss. Within 30 days of any demand for an appraisal, each party
shall appoint a competent appraiser and shall notify the other party of that appraiser’s
identity. The appraisers will determine the amount of loss. If they fail to agree, the dis-
agreement will be submitted to a qualified umpire chosen by the appraisers. If the two
appraisers are unable to agree upon an umpire within 15 days, we or you may request
that a judge of a court of record, in the county where you reside, select an umpire. The
appraisers and umpire will determine the amount of loss. The amount of loss agreed
to by both appraisers, or by one appraiser and the umpire, will be binding. You will pay
your appraiser’s fees and expenses. We will pay our appraiser’s fees and expenses.
All other expenses of the appraisal, including payment of the umpire if one is selected,
will be shared equally between us and you. Neither we nor you waive any rights un-
der this policy by agreeing to an appraisal.

                   PART VI - FISHING EQUIPMENT COVERAGE

INSURING AGREEMENT

If you pay the premium for this coverage, we will pay for sudden, direct and accidental
loss to fishing equipment.

No coverage is provided for theft of fishing equipment from any location other than
a watercraft unless such equipment is stolen from a locked compartment, a locked
vehicle or your locked residence, the theft is supported by visible evidence of forcible
entry, and the insured person, or someone on his or her behalf, reports the theft to the
United States Coast Guard, the police, or other civil authority within 24 hours or as
soon as practicable after the loss.
                                            30
ADDITIONAL DEFINITIONS

When used in this Part VI:
1. “Fishing equipment” means any sport fishing gear and equipment owned by
   you or a relative that is used in the legal taking of fish for sport and recreation,
   or for personal consumption, including, but not limited to, rods, reels, lures, lines,
   and tackle boxes. “Fishing equipment” does not include permanent equipment,
   portable boating equipment, or personal effects.
2. “Personal effects” means clothing and other personal property owned by you or
   a relative. “Personal effects” does not include:
   a. money, traveler’s checks, securities, evidence of debt, or valuable papers or
        documents;
   b. jewelry, gems, precious stones, watches, silver, gold, or other precious met-
        als;
   c. antiques, fine arts, liquor, or furs;
   d. computer hardware and software;
   e. any property used in your or a relative’s business or employment;
   f. animals (including birds and fish);
   g. fishing equipment;
   h. permanent equipment; or
   i. portable boating equipment.

EXCLUSIONS - READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN
EXCLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS
PART VI.

Coverage under this Part VI does not apply to any loss to fishing equipment:
1. while the covered watercraft is being used:
   a. to carry persons or property for compensation or a fee;
   b. in any illegal transportation or trade; or
   c. for commercial or business purposes.
   Subparts a. and c. of this exclusion do not apply to use of a covered watercraft for
   tournament fishing;
2. caused by, or reasonably expected to result from, a criminal act or omission of
   you or a relative. This exclusion applies regardless of whether you or the relative
   is actually charged with, or convicted of, a crime. For purposes of this exclusion,
   criminal acts or omissions do not include violations of laws or regulations govern-
   ing the operation of watercraft;
3. that occurs because the covered watercraft is not in seaworthy condition;
4. resulting from, or sustained during practice or preparation for:
   a. any pre-arranged or organized racing, stunting, speed, or demolition contest
        or activity; or
   b. any driving, riding, navigation, piloting, or boating activity conducted on a per-
        manent or temporary racecourse.
   This exclusion does not apply to loss resulting from the use of a sailboat in any
   pre-arranged or organized racing or speed contest, or in practice or preparation for
   any such contest;
                                           31
5. due to a nuclear reaction or radiation;
6. for which insurance:
    a. is afforded under a nuclear energy liability insurance contract; or
    b. would be afforded under a nuclear energy liability insurance contract but for its
         termination upon exhaustion of its limit of liability;
7. due to destruction or confiscation by governmental or civil authorities because
    you or any relative engaged in illegal activities;
8. caused by an intentional act committed by or at the direction of you or a relative,
    even if the actual damage is different than that which was intended or expected;
9. caused directly or indirectly by:
    a. wear and tear;
    b. gradual deterioration of any kind including, but not limited to, weathering, rust,
         corrosion, mold, wet or dry rot, osmosis, delamination, or blistering;
    c. dock rash or other gradual marring or scratching;
    d. mechanical, electrical, or structural breakdown, except for subsequent loss by
         fire or explosion; or
    e. any design, manufacturing, or latent defect;
    of any watercraft or trailer. This exclusion does not apply:
    a. if the loss results from the theft of a covered watercraft; or
    b.	to ensuing loss caused by consequential sinking, burning, explosion or colli-
         sion of a covered watercraft;
10. caused directly or indirectly by:
    a. insects, birds, or other animals, including rodents and other types of vermin,
         unless the covered watercraft in or on which the fishing equipment was
         located at the time of the loss was secured with a fitted cover at the time of the
         loss;
    b. marine life; or
    c. smog, humidity, mildew, mold, freezing, thawing, or extremes of temperature.
    This exclusion does not apply to:
    a. loss resulting from impact with an animal or marine life; or
    b.	ensuing loss caused by consequential sinking, burning, explosion or collision
         of a covered watercraft;
11. due to theft or conversion of such fishing equipment:
    a. by you, a relative, or any resident of your household; or
    b. prior to its delivery to you or a relative;
12. for diminution of value;
13. while the fishing equipment or the covered watercraft which the fishing equip-
    ment is in or on is leased or rented to others or given in exchange for any compen-
    sation. This exclusion does not apply when you or a relative is using the fishing
    equipment or the covered watercraft which the fishing equipment is in or on;
14. caused directly or indirectly by:
    a. war (declared or undeclared) or civil war;
    b. warlike action by any military force of any government, sovereign, or other
         authority using military personnel or agents. This includes any action taken to
         hinder or defend against an actual or expected attack; or
    c. insurrection, rebellion, revolution, usurped power, or any action taken by a gov-
         ernmental authority to hinder or defend against any of these acts;
                                            32
15. caused directly or indirectly by:
    a. any accidental or intentional discharge, dispersal, or release of radioactive,
         nuclear, pathogenic, or poisonous biological material; or
    b. any intentional discharge, dispersal, or release of chemical or hazardous ma-
         terial for any purpose other than its safe and useful purpose;
16. arising out of an accident while using a watercraft as a primary or permanent
    residence; or
17. that occurs because a covered watercraft has not been properly winterized in
    accordance with the manufacturer’s specifications, subject to local customs.

LIMITS OF LIABILITY

1. Our limit of liability under this Part VI for loss to fishing equipment will be the low-
   est of:
   a. the amount necessary to replace the stolen or damaged property, reduced by
        the applicable deductible;
   b. the amount necessary to repair the damaged property to its pre-loss condi-
        tion, reduced by the applicable deductible; or
   c. the amount shown on the declarations page for Fishing Equipment Cover-
        age.
   However, the most we will pay for loss or damage to any one item of fishing
   equipment is $1,000. A tackle box or any other container used to store lures,
   hooks, and baits is considered one item regardless of the number of lures, hooks,
   baits, and other items stored in the container. A rod and reel are considered two
   separate items.
2. Payments for loss covered under Fishing Equipment Coverage are subject to the
   following provisions:
   a. a deductible of $250 shall apply to each loss to fishing equipment;
   b. no more than one deductible shall be applied to any one covered loss;
   c. in determining the amount necessary to repair damaged property to its pre-
        loss condition, the amount to be paid by us:
		      (i) shall not exceed the prevailing competitive labor rates charged in the area
             where the property is to be repaired, and the cost of repair or replace-
             ment parts and equipment, as reasonably determined by us; and
		 (ii) will be based on the cost of repair or replacement parts and equipment
             which may be new, reconditioned, remanufactured, or used, including,
             but not limited to:
			          (a) original manufacturer parts or equipment; and
			          (b) nonoriginal manufacturer parts or equipment; and
   d. duplicate recovery under this policy for the same elements of loss is not per-
        mitted.

PAYMENT OF LOSS

We may, at our option:
1. pay for the loss in money; or
                                            33
2. repair or replace the damaged or stolen property.

At our expense, we may return any recovered stolen property to you or to the address
shown on the declarations page, with payment for any damage resulting from the
theft. We may keep all or part of the property at the agreed or appraised value.

We may settle any loss with you or the owner or lienholder of the property.

NO BENEFIT TO BAILEE

Coverage under this Part VI will not directly or indirectly benefit any carrier or other
bailee for hire.

OTHER SOURCES OF RECOVERY

The insurance that we provide under this Part VI for fishing equipment is primary.

APPRAISAL

If we cannot agree with you on the amount of a loss, then we or you may demand
an appraisal of the loss. Within 30 days of any demand for an appraisal, each party
shall appoint a competent appraiser and shall notify the other party of that appraiser’s
identity. The appraisers will determine the amount of loss. If they fail to agree, the dis-
agreement will be submitted to a qualified umpire chosen by the appraisers. If the two
appraisers are unable to agree upon an umpire within 15 days, we or you may request
that a judge of a court of record, in the county where you reside, select an umpire. The
appraisers and umpire will determine the amount of loss. The amount of loss agreed
to by both appraisers, or by one appraiser and the umpire, will be binding. You will pay
your appraiser’s fees and expenses. We will pay our appraiser’s fees and expenses.
All other expenses of the appraisal, including payment of the umpire if one is selected,
will be shared equally between us and you. Neither we nor you waive any rights un-
der this policy by agreeing to an appraisal.

             PART VII - DUTIES IN CASE OF AN ACCIDENT OR LOSS

For coverage to apply under this policy, you or the person seeking coverage must
promptly report each accident or loss even if you or the person seeking coverage is
not at fault. You or the person seeking coverage must provide us with all accident or
loss information including time, place, and how the accident or loss happened. You
or the person seeking coverage must also obtain and provide us the names and ad-
dresses of all persons involved in the accident or loss, the names and addresses of
any witnesses, and the manufacturer’s or state-assigned hull identification number of
the watercraft involved.

If you or the person seeking coverage cannot identify the owner or operator of a water-
craft involved in the accident, or if theft or vandalism has occurred, you or the person
                                            34
seeking coverage must notify the police, United States Coast Guard, or other civil
authority, in accordance with applicable laws and regulations, within 24 hours or as
soon as practicable.

A person seeking coverage must:
1. cooperate with us in any matter concerning a claim or lawsuit;
2. provide any written proof of loss we may reasonably require;
3. allow us to take signed and recorded statements, including sworn statements and
    examinations under oath, which we may conduct outside the presence of you or
    any other person seeking coverage and answer all reasonable questions we may
    ask as often as we may reasonably require;
4. promptly call to notify us about any claim or lawsuit and send us any and all legal
    papers relating to the claim or suit;
5. attend hearings and trials as we require;
6. take reasonable steps after a loss to protect the covered watercraft, or any other
    watercraft or trailer for which coverage is sought, from further loss. We will pay
    reasonable expenses incurred in providing that protection. If failure to provide such
    protection results in further loss, any additional damages will not be covered under
    this policy;
7. allow us to have the damaged covered watercraft, or any other damaged wa-
    tercraft or trailer for which coverage is sought, inspected and appraised before its
    repair or disposal;
8. submit to medical examinations at our expense by doctors we select as often as
    we may reasonably require; and
9. authorize us to obtain medical and other records.

                        PART VIII - GENERAL PROVISIONS

POLICY PERIOD AND TERRITORY

This policy applies only to accidents and losses occurring during the policy period
shown on the declarations page and which occur within:
1. a state, territory, or possession of the United States of America, or a province or
    territory of Canada, including their in-land lakes, rivers, and navigable waterways;
2. the Great Lakes; or
3. ocean waters 75 nautical miles or less from the coast of either the United States
    or Canada, but not including the territory or territorial waters of any country other
    than the United States or Canada.

CHANGES

This policy contract, your insurance application (which is made a part of this policy as
if attached hereto), the declarations page, and all endorsements to this policy issued
by us contain all the agreements between you and us. Subject to the following, its
terms may not be changed or waived except by an endorsement issued by us.


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The premium for this policy is based on information we received from you and other
sources. You agree to cooperate with us in determining if this information is correct
and complete, and to notify us if it changes during the policy period. If this information
is incorrect, incomplete, or changes during the policy period, you agree that we may
adjust your premium accordingly.

Changes that may result in a premium adjustment are contained in our rates and
rules. These include, but are not limited to, changes in:
1. the number or type of covered watercraft;
2. operators using covered watercraft;
3. marital status of any operator;
4. coverage, deductibles, or limits of liability; or
5. rating territory or discount eligibility.

The coverage provided in your policy may be changed only by the issuance of a new
policy or an endorsement by us. However, if during the policy period we broaden any
coverage afforded under the current edition of your policy without additional premium
charge, that change will automatically apply to your policy as of the date the coverage
change is implemented in your state.

If you ask us to delete a watercraft from this policy, no coverage will apply to that wa-
tercraft as of the date and time you ask us to delete it.

DUTY TO REPORT CHANGES

You must promptly notify us when:
1. your mailing or residence address changes;
2. there is a change with respect to the residents in your household or the persons
   who regularly operate a covered watercraft; or
3. an operator’s marital status changes.

SETTLEMENT OF CLAIMS

We may use estimating, appraisal, or injury evaluation systems to assist us in adjust-
ing claims under this policy and to assist us in determining the amount of damages,
expenses, or loss payable under this policy. Such systems may be developed by us or
a third party and may include computer software, databases, and specialized technol-
ogy.

TERMS OF POLICY CONFORMED TO STATUTES

If any provision of this policy fails to conform with the statutes of the state listed on your
application as your principal place of garaging, docking, or mooring your covered
watercraft, the provision shall be deemed amended to conform to such statutes. All
other provisions shall be given full force and effect. Any disputes as to the coverages
provided or the provisions of this policy shall be governed by the law of the state listed
                                             36
on your application as your principal place of garaging, docking, or mooring your
covered watercraft.

TRANSFER OF INTEREST

The rights and duties under this policy may not be transferred to another person with-
out our written consent. However, if a named insured shown on the declarations
page dies, this policy will provide coverage until the end of the policy period for the le-
gal representative of the named insured, while acting as such, and for persons covered
under this policy on the date of the named insured’s death.

YOUR WARRANTIES TO US REGARDING YOUR COVERED WATERCRAFT

You warrant and represent to us that, at the inception of this policy, your covered
watercraft is in seaworthy condition. Violation of this warranty will void this policy from
its inception.

You further warrant and represent to us that you will continue to maintain your cov-
ered watercraft in seaworthy condition and to comply with all federal safety standards
and provisions. This policy does not cover any loss or damages caused by your failure
to maintain your covered watercraft in seaworthy condition or to comply with all
federal safety standards and provisions.

FRAUD OR MISREPRESENTATION

This policy was issued in reliance upon the information provided on your insurance
application. We may void this policy at any time, including after the occurrence of an
accident or loss, if you:
1. made incorrect statements or representations to us with regard to any material
     fact or circumstance;
2. concealed or misrepresented any material fact or circumstance; or
3. engaged in fraudulent conduct;
at the time of application. This means that we will not be liable for any claims or dam-
ages that would otherwise be covered.

We may deny coverage for an accident or loss if you or a person seeking coverage has
knowingly concealed or misrepresented any material fact or circumstance, or engaged
in fraudulent conduct, in connection with the presentation or settlement of a claim.

PAYMENT OF PREMIUM AND FEES

If your initial premium payment is by check, draft, electronic funds transfer, or similar
form of remittance, coverage under this policy is conditioned on payment to us by the
financial institution. If the financial institution upon presentment does not honor the
check, draft, electronic funds transfer, or similar form of remittance, this policy may, at
our option, be cancelled from its inception by notice of cancellation or rescission. This
                                            37
means we will not be liable under this policy for any claims or damages that would
otherwise be covered if the check, draft, electronic funds transfer, or similar form of
remittance had been honored by the financial institution. Any action by us to present
the remittance for payment more than once shall not affect our right to void this policy.

In addition to premium, fees may be charged on your policy. We may charge fees for
installment payments, late payments, and other transactions. Payments made on your
policy will be applied first to fees, then to premium due.

CANCELLATION

You may cancel this policy during the policy period by calling or writing us and stating
the future date that you wish the cancellation to be effective.

We may cancel this policy during the policy period by mailing a notice of cancellation,
stating the specific reason for cancellation, to the named insured shown on the decla-
rations page at the last known address appearing in our records. If cancellation is for
nonpayment of premium, notice will be mailed at least 10 days before the effective date
of cancellation. If cancellation is for any other reason, notice will be mailed at least 30
days before the effective date of cancellation.

We may cancel this policy for any reason if the notice is mailed within the first 120 days
of the initial policy period.

After this policy is in effect for more than 120 days, or if this is a renewal or continuation
policy, we may cancel only for one or more of the following reasons:
1. nonpayment of premium;
2. material misrepresentation of fact which, if known to us, would have caused us
     not to issue the policy;
3. substantial change in the risk assumed, except to the extent that we should rea-
     sonably have foreseen the change or contemplated the risk in writing the policy;
4. substantial breaches of contractual duties, conditions, or warranties; or
5. loss of our reinsurance covering all or a significant portion of the particular policy
     insured, or where continuation of the policy would imperil our solvency or place us
     in violation of the insurance laws of the State of South Carolina.

Proof of mailing will be sufficient proof of notice. If this policy is cancelled, coverage will
not be provided as of the effective date and time shown in the notice of cancellation.
For purposes of cancellation, this policy is neither severable nor divisible. Any cancel-
lation will be effective for all coverages for all persons and all watercraft and trailers.

CANCELLATION REFUND

Upon cancellation, you may be entitled to a premium refund. However, our making or
offering of a refund is not a condition of cancellation.

If this policy is cancelled, any refund due will be computed on a daily pro-rata basis.
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NONRENEWAL

If neither we nor one of our affiliates offers to renew or continue this policy, we will
mail notice of nonrenewal, stating the specific reason for nonrenewal, to the named
insured shown on the declarations page at the last known address appearing in our
records. Proof of mailing will be sufficient proof of notice. Notice will be mailed at least
60 days before the end of the policy period if the nonrenewal will be effective between
November 1 and May 31. Notice will be mailed at least 90 days before the end of the
policy period if the nonrenewal will be effective between June 1 and October 31.

AUTOMATIC TERMINATION

If we or an affiliate offers to renew or continue this policy and you or your representa-
tive does not accept, this policy will automatically terminate at the end of the current
policy period. Failure to pay the required renewal or continuation premium when due
will mean that you have not accepted our offer.

If you obtain other insurance on a covered watercraft, any similar insurance provided
by this policy will terminate as to that covered watercraft on the effective date of the
other insurance.

If a covered watercraft is sold or transferred to someone other than you or a relative,
any insurance provided by this policy will terminate as to that covered watercraft on
the effective date of the sale or transfer.

LEGAL ACTION AGAINST US

We may not be sued unless there is full compliance with all the terms of this policy.

We may not be sued for payment under Part I - Liability To Others until the obligation of
an insured person under Part I to pay is finally determined either by judgment after trial
against that person or by written agreement of the insured person, the claimant, and
us. No one will have any right to make us a party to a lawsuit to determine the liability
of an insured person.

If we retain salvage, we have no duty to preserve or otherwise retain the salvage for
any purpose, including evidence for any civil or criminal proceeding.

OUR RIGHTS TO RECOVER PAYMENT

We are entitled to all the rights of recovery that the insured person to whom payment
was made has against another, to the extent of our payment. That insured person may
be required to sign documents related to the recovery and must do whatever else is
necessary to help us exercise those rights, and do nothing after an accident or loss to
prejudice those rights.


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When an insured person has been paid by us and also recovers from another, the
amount recovered will be held by the insured person in trust for us and reimbursed to
us to the extent of our payment. If we are not reimbursed, we may pursue recovery
of that amount directly against that insured person. If an insured person recovers from
another without our written consent, the insured person’s right to payment under any
affected coverage will no longer exist.

If we elect to exercise our rights of recovery against another, we will also attempt to
recover any deductible incurred by an insured person under this policy unless we are
specifically instructed by that person not to pursue the deductible. We have no obliga-
tion to pursue recovery against another for any loss not covered by this policy.

We reserve the right to compromise or settle the deductible and property damage
claims against the responsible parties for less than the full amount. We also reserve
the right to incur reasonable expenses and attorney fees in pursuit of the recovery.

If the total recovery is less than the total of our payment and the deductible, we will re-
duce reimbursement of the deductible based on the proportion that the actual recovery
bears to the total of our payment and the deductible. A proportionate share of collec-
tion expenses and attorney fees incurred in connection with these recovery efforts will
also reduce reimbursement of the deductible.

These provisions will be applied in accordance with state law.

OUR RIGHTS TO INSPECT

We, and any rating, advisory, rate service, or similar organization that makes insurance
inspections, surveys, reports, or recommendations on our behalf, have the right to:
1. make inspections and surveys after providing you with reasonable notice;
2. provide you reports related to any conditions that we identify with respect to a
    covered watercraft or any property; and
3. recommend changes with respect to any identified conditions.

This does not mean that we or any entity acting on our behalf:
1. make safety inspections;
2. undertake to perform the duty of any person or organization to provide for the
    health or safety of workers or the public;
3. warrant or represent that conditions are safe or healthful;
4. warrant or represent that conditions comply with laws, regulations, codes, or stan-
    dards; or
5. warrant or represent that a covered watercraft is in seaworthy condition.

JOINT AND INDIVIDUAL INTERESTS

If there is more than one named insured on this policy, any named insured may cancel
or change this policy. The action of one named insured will be binding on all persons
provided coverage under this policy.
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BANKRUPTCY

The bankruptcy or insolvency of an insured person will not relieve us of any obligations
under this policy.




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